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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                 Case No.: 1:19-CR-00018-ABJ


UNITED STATES OF AMERICA,

               Plaintiff,

v.

ROGER J. STONE, JR.,

            Defendant.
______________________________/

               ROGER J. STONE’S RESPONSE TO THE COURT’S ORDER
                          OF MARCH 5, 2019 [DKT. # 56]

       (1)     The March 1, 2019 Motion to Clarify (Dkt. # 51) was not “intended to serve as a

means to generate additional publicity for the book.” Order of March 5, 2019 (Dkt. # 56), p. 2 n.

1. It was intended to address the fact that the “new” introduction was, after the February 21, 2019

hearing, recognized to be a potential problem. See Exhibit A, email exchange of February 21,

2019 at 6:33 p.m. We regret that the Court drew a contrary impression.

       (2)     That the New Introduction “had been sent to a publisher in January and was

scheduled for release in February” (Order, p. 3, n. 2), is now certain. See Composite Exhibit B.

There was confusion. We apologize for the confusing representation about publication. But, the

February 8 representation that “‘[t]hat first wave of publicity surrounding the indictment . . . will

subside. To be sure, the interest in this case will continue, but nothing compels the conclusion

that the Court’s present expressed confidence in seeking an unbiased jury will, in months hence,

be compromised by the press or Mr. Stone as we move forward.’” (Order at 3, n. 2, quoting

February 8 submission), is still true. The Court views the New Introduction as “entirely
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inconsistent with the assurances,” but those “assurances” were not made in an effort to conceal

anything. They reflected a belief in both waning publicity and the ability of the Court to seat a

jury. That opinion still holds.

       (3)     That the lawyers who submitted the Notice of Apology, and who condemned the

posting which prompted it, “did not seek an exception for a recently revised introduction to a

book that was in the hands of retailers as he spoke” (Opinion at 3-4) is true. But any suggestion

that not doing so was intended to mislead, is not true. Even if it had crossed counsel’s mind to

raise the new introduction (and it did not), it seems a bit awkward to have sought to introduce the

New Introduction at that very moment during argument. As the 6:33 p.m. February 21, 2019

email exchange reflects, reading for the first time the New Introduction, while waiting for a

plane back to Fort Lauderdale, brought the issue home and led to the Motion to Clarify.

       We address below the Court’s specific requests:

DEFENDANT MUST PRODUCE ANY RECORDS, INCLUDING THE DECEMBER 18, 2018
AGREEMENT REFERENCED IN THE DECLARATION OF ANTHONY LYONS [DKT. #
55-1] ¶4, AND ANY OTHER CONTRACTS, LETTERS, EMAILS OR OTHER
COMMUNICATIONS WITH THE PUBLISHER, DETAILING THE TERMS AND
SCHEDULE FOR THE RELEASE OF THE NEW EDITION OF THE BOOK WITH THE
JANUARY 2019 INTRODUCTION, INCLUDING ALL RECORDS REFLECTING WHEN
RETAILERS COULD BEGIN OFFERING THE BOOK FOR SALE AND RECORDS
REFLECTING THE DATE WHEN THE BOOK WOULD BE FIRST OFFERED FOR SALE
BY ONLINE VENDORS SUCH AS AMAZON.COM AND GOOGLE BOOKS.




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Response:
       See attached, Composite Exhibit B.
DEFENDANT MUST INFORM THE COURT OF THE EXACT DATE THE BOOK WAS
FIRST MADE AVAILABLE FOR PURCHASE ONLINE, AND THE INTRODUCTION WAS
MADE AVAILABLE FOR VIEWING, AT AMAZON.COM AND GOOGLE BOOKS OR
ANY OTHER ONLINE VENDOR.


Response:
       As provided by the Publisher, the exact date the book was first made available for

purchase online, and the Introduction was made available for viewing to Amazon.com and

Google books or any other online vendor was on January 18, 2019. They could choose to make

them publicly available any time after they received them.

DEFENDANT MUST INFORM THE COURT WHETHER AND WHEN HE BECAME
AWARE OF: THE FACT THAT THE NEW EDITION OF THE BOOK HAD BEEN PRINTED
BY THE PUBLISHER; THE FACT THAT COPIES OF THE BOOK HAD BEEN SHIPPED
FROM THE PRINTER; THE FACT THAT COPIES WERE AVAILABLE AT
BOOKSTORES; THE FACT THAT RETAIL BOOKSTORES WERE SELLING THE BOOK;
AND THE FACT THAT THE BOOK WAS AVAILABLE FOR PURCHASE OR VIEWING
ONLINE.


Response:
   1) Mr. Stone became aware of the fact that the New Edition of the book had been printed in
      early February, exact date unknown, when an acquaintance of Mr. Stone reached out to
      him to say he had purchased and had in-hand a copy of the book.

   2) Mr. Stone knew books had been shipped from the printer as late as February 18, when
      Mr. Stone received two boxes of approximately 30 books each at his home delivered to
      him by the publisher which he began giving to friends and family. See also, Composite
      Exhibit B.

   3) Mr. Stone does not have any recollection of when he specifically knew they were
      available at bookstores.

   4) Mr. Stone does not have any recollection of when he specifically knew they were being
      sold at retail bookstores.



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   5) Mr. Stone does not recall when he learned that the book was available for purchase or
      viewing online.



DEFENDANT MUST SPECIFY THE DATE AND CONTENT OF ANY INSTAGRAM OR
SOCIAL MEDIA POSTS, INCLUDING DELETED POSTS, OR OTHER PUBLIC
STATEMENTS HE MADE FROM JANUARY TO THE PRESENT CONCERNING OR
PUBLICIZING THE RELEASE OF THE BOOK, INCLUDING ANY STATEMENTS
ANNOUNCING THE DATE THE BOOK WOULD BE PUBLISHED OR AVAILABLE FOR
PURCHASE.


Response:
   Beginning after the completion and approval of the New Introduction and the creation of

possible covers, Mr. Stone composed and posted the attached Instagram and Instagram Stories.

There were a total of 6, all of which are attached, that spanned from January 16 through February

18. To the best of Mr. Stone’s knowledge or records, he made no public statements regarding

the publication of the book from January 15th to the present. See Composite Exhibit C.

DEFENDANT MUST DESCRIBE ALL STEPS HE TOOK, OR COMMUNICATIONS HE
HAD WITH THE PUBLISHER OR ANY RETAILER, IF ANY, CONCERNING THE
RELEASE OR SALE OF THE BOOK BETWEEN THE ENTRY OF THE ORDER ON
FEBRUARY 21, 2019 AND MARCH 1, 2019, AND HE MUST PRODUCE ANY RECORDS
REFLECTING THOSE COMMUNICATIONS.


Response:
       Immediately following the February 21 hearing, Mr. Stone reminded counsel about the

existence of the New Introduction which covered topics now subject to restriction and that it

could be construed as being written after the date for the February 21 Order because the various

platform and location releases were not immediately known to him, although he had knowledge

they had been printed and that there had been at least one commercial sale. Mr. Stone instructed

Mr. Smith to send the new introduction to the others on his team for review.


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         Mr. Stone did not have any direct communications with the publisher or any retailer

between February 21 and March 1, all communications were indirect through counsel. To be

completely transparent, Mr. Stone has authorized counsel to provide these communications to the

Court.

         On the morning of February 22, Mr. Smith sent an email to the publisher requesting, in

light of the Court’s Order, a detailed explanation of where the books stood in the

release/publishing process.

         On February 26th, in preparation for the March 1 filing by Defendant, Mr. Smith

requested additional information from the publisher to be able to accurately represent the status

of the book to the Court. As is reflected in this email exchange, Mr. Stone no longer had a “joint-

venture” with the publisher and the publisher viewed the information Mr. Stone was requesting

to be proprietary as Mr. Stone neither participated in setting the schedule or any printing or

distribution decisions.    The publisher ultimately provided the information requested in

preparation for the Defendant’s filing.

         The Defendant also asks the Court to take notice of the immediacy with which this was

addressed by Mr. Stone and that the serious tone in the emails reflects the seriousness with which

Mr. Stone took the Court’s February 21 order. See Composite Exhibit D.

                                          CONCLUSION

         There was/is no intention to hide anything. The new introduction, post February 21,

2019, presented a question we tried, obviously clumsily, to address. Having been scolded, we

seek only to defend Mr. Stone and move ahead without further ado.1



1
       Bruce Rogow may not be able to attend the March 14, 2019 status conference because he
is under a physician’s care for a temporary disorder impeding his ability to travel.
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                                       Respectfully submitted,


By: /s/ Robert C. Buschel                 By: /s/Bruce S. Rogow
ROBERT C. BUSCHEL                         BRUCE S. ROGOW
BUSCHEL GIBBONS, P.A.                     FL Bar No.: 067999
FL Bar No.: 006436                        TARA A. CAMPION
One Financial Plaza, Suite 1300           FL Bar: 90944
100 S.E. Third Avenue                     BRUCE S. ROGOW, P.A.
Fort Lauderdale, FL 33394                 100 N.E. Third Avenue, Ste. 1000
Telephone: (954) 530-5301                 Fort Lauderdale, FL 33301
Fax: (954) 320-6932                       Telephone: (954) 767-8909
Buschel@BGlaw-pa.com                      Fax: (954) 764-1530
               Admitted pro hac vice      brogow@rogowlaw.com
                                          tcampion@rogowlaw.com
                                                      Admitted pro hac vice

By: /s/ L. Peter Farkas                   By: /s/ Grant J. Smith
L. PETER FARKAS                           GRANT J. SMITH
HALLORAN FARKAS + KITTILA LLP             STRATEGYSMITH, PA
DC Bar No.: 52944                         FL Bar No.: 935212
1101 30th Street, NW                      401 East Las Olas Boulevard
Suite 500                                 Suite 130-120
Washington, DC 20007                      Fort Lauderdale, FL 33301
Telephone: (202) 559-1700                 Telephone: (954) 328-9064
Fax: (302) 257-2019                       gsmith@strategysmith.com
pf@hfk.law                                            Admitted pro hac vice




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                                CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on March 11, 2019, I electronically filed the foregoing with

the Clerk of Court using CM/ECF. I also certify that the foregoing is being served this day on all

counsel of record or pro se parties, via transmission of Notices of Electronic Filing generated by

CM/ECF.

    United States Attorney’s Office for the           United States Department of Justice
            District of Columbia                           Special Counsel’s Office

MICHAEL JOHN MARANDO           AARON SIMCHA JON ZELINSKY
JONATHAN IAN KRAVIS            JEANNIE SCLAFANI RHEE
U.S. ATTORNEY’S OFFICE FOR THE ANDREW DANIEL GOLDSTEIN
DISTRICT OF COLUMBIA           LAWRENCE RUSH ATKINSON
555 Fourth Street, NW          U.S. DEPARTMENT OF JUSTICE
Washington, DC 20530           SPECIAL COUNSEL’S OFFICE
Telephone: (202) 252-6886      950 Pennsylvania Avenue, NW
Fax: (202) 651-3393            Washington, DC 20530
michael.marando@usdoj.gov      Telephone: (202) 616-0800
jonathan.kravis3@usdoj.gov     Fax: (202) 651-3393
                               asjz@usdoj.gov
                               jsr@usdoj.gov
                               adg@usdoj.gov
                               lra@usdoj.gov



                                                    By: /s/ Robert C. Buschel
                                                    ROBERT C. BUSCHEL




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         EXHIBIT A
               Case 1:19-cr-00018-ABJ Document 61-1 Filed 03/11/19 Page 2 of 3
                                                           Sunday, March 10, 2019 at 1:43:31 PM Eastern Daylight Time

Subject: Re: New BOOK Introduc2on
Date: Thursday, February 21, 2019 at 6:33:40 PM Eastern Standard Time
From: Bruce Rogow
To:      Grant Smith
CC:      Rob Buschel, Tara Campion

The “ AOer The recusal of Sessions etc paragraphs are problema2c.i have not thought/read carefully,
but if I am right, maybe the publisher can black out the pages and say pursuant to the order . . . .

On Feb 21, 2019, at 5:58 PM, Grant Smith <gsmith@strategysmith.com> wrote:


      Will be published march 1. See date below. Need to see if this breaks the order. Was
      draOed BEFORE indictment.

      Grant
      ____________________
      Grant J. Smith, Esq.
      StrategySmith, PA
      401 East Las Olas Boulevard
      Suite 130-120
      Fort Lauderdale, FL 33301
      954.328.9064 - Direct

      From: Michael Campbell <Mcampbell@skyhorsepublishing.com>
      Date: Monday, January 14, 2019 at 5:42 PM
      To: Roger Stone <players02@gmail.com>
      Cc: Mark Gompertz <mgompertz@skyhorsepublishing.com>, Grant Smith
      <gsmith@strategysmith.com>, Tony Lyons <TLyons@skyhorsepublishing.com>
      Subject: RE: New Introduc2on

      Roger,

      Edited intro abached here. Just copyedits and reordering a couple paragraphs in the Mueller
      sec2on to beber show the progression.

      Thanks,
      Mike
      _____________________________
      Michael Campbell
      Skyhorse Publishing, Inc.
      307 W 36th Street, 11th Floor | New York, NY 10018
      212-643-6816 x254
      email: mcampbell@skyhorsepublishing.com
      www.skyhorsepublishing.com

      From: Roger Stone <players02@gmail.com>
      Sent: Monday, January 14, 2019 11:49 AM
      To: Tony Lyons <TLyons@skyhorsepublishing.com>; Michael Campbell

                                                                                                               Page 1 of 2
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<Mcampbell@skyhorsepublishing.com>; Grant Smith <gsmith@strategysmith.com>
Subject: New Introduc2on

for the Making of the President 2016 in paperback

3386 words

R

<new book introduc2on_MC.docx>




                                                                             Page 2 of 2
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         COMPOSITE
          EXHIBIT B
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               Document 1: Amendment to
                 Publishing Agreement
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    Document 2: Emails re: First Overture to Do New
                       Edition
                Case 1:19-cr-00018-ABJ Document 61-2 Filed 03/11/19 Page 7 of 94
                                                            Sunday, March 10, 2019 at 1:17:30 PM Eastern Daylight Time

Subject: Possible op*ons re published *tles and new book
Date: Wednesday, November 21, 2018 at 2:54:50 PM Eastern Standard Time
From: Dean NoFe
To:      Grant Smith

Dear Grant,

Given all of the back and forth with our joint ventures with Roger, I wanted to see if there was interest on
your end in working on a seFlement for the published *tles in addi*on to a new paperback where we could
make a lump sum payment to Roger.

If that’s something Roger would like to explore I’d be happy to put something together and discuss some
possibili*es.

Either way, I hope you have a terriﬁc holiday.

Thank you,
Dean


Dean NoEe
Director of OperaHons
Skyhorse Publishing, Inc.
Allworth Press | Arcade Publishing | Gary Null Publishing
Helios Press | Night Shade Books | Not For Tourists
Sky Pony Press | Sports Publishing | Talos Press
307 W 36th Street, 11th Floor | New York, NY 10018
Ph:(212) 643-6816 x264 | Fax: (212) 643-6819
www.skyhorsepublishing.com
@skyhorsepub




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     Document 3: Emails re: Overture to Stone to Do New
                          Edition
            Case 1:19-cr-00018-ABJ Document 61-2 Filed 03/11/19 Page 9 of 94
                                                         Sunday, March 10, 2019 at 2:00:38 PM Eastern Daylight Time

Subject: Re: MAKING OF THE PRESIDENT 2016
Date: Friday, March 8, 2019 at 9:34:13 AM Eastern Standard Time
From: Roger Stone
To:      Grant Smith




On Thu, Mar 7, 2019 at 1:59 PM Roger Stone <players02@gmail.com> wrote:
  #1

  On Thu, Nov 15, 2018 at 5:10 PM Michael Campbell <Mcampbell@skyhorsepublishing.com> wrote:

    Dear Roger,



    We think this would be a great opportunity bring out the paperback of the book and would like to
    propose a new Ztle: MY	TIES	TO	THE	CAMPAIGN:	THE	TRUTH	ABOUT	MY	FRONT	ROW	SEAT	TO
    DONALD	TRUMP’S	REVOLUTION. It would be a chance to retake the narraZve and set the record
    straight; as the deﬁniZve account of how President Trump got elected, the book stands on its own
    but it would beneﬁt from a new introducZon to the so]cover ediZon. You’d have the opportunity
    to edit or add any statements in the text as well.



    Not wanZng to be presumptuous but also understanding that your Zme is limited, we took the
    liberty of dra]ing the introducZon. Feel free to make any changes to it as you see ﬁt. Aaached
    here.



    I hope you agree that this is the right moment to bring this out.



    Thank you,

    Mike



    _____________________________

    Michael Campbell

    Skyhorse Publishing, Inc.

    307 W 36th Street, 11th Floor | New York, NY 10018

    212-643-6816 x254



                                                                                                             Page 1 of 2
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email: mcampbell@skyhorsepublishing.com

www.skyhorsepublishing.com




                                                                           Page 2 of 2
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        Document 4: Emails re: Stone Reply to Overture
          Case 1:19-cr-00018-ABJ Document 61-2 Filed 03/11/19 Page 12 of 94
                                              Sunday, March 10, 2019 at 2:00:59 PM Eastern Daylight Time

Subject: Re: MAKING OF THE PRESIDENT 2016
Date: Friday, March 8, 2019 at 9:34:50 AM Eastern Standard Time
From: Roger Stone
To:      Grant Smith

#2

On Thu, Mar 7, 2019 at 2:00 PM Roger Stone <players02@gmail.com> wrote:
 #2

  ---------- Forwarded message ---------
  From: Roger Stone <players02@gmail.com>
  Date: Sun, Dec 9, 2018 at 7:25 AM
  Subject: Re: MAKING OF THE PRESIDENT 2016
  To: Michael Campbell <Mcampbell@skyhorsepublishing.com>
  Cc: Grant Smith <GSmith@strategysmith.com>


  In view of the fact that revenues generated by the Making of the President 2016 have never even
  recaptured the promo[onal costs for the book that I underwrote due Tony’s unilateral decision to
  print 100,000 copies , I have no interest. While such a paperback might make money for Skyhorse I
  have no conﬁdence I would make a penny.

  Roger Stone


  On Nov 15, 2018, at 5:10 PM, Michael Campbell <Mcampbell@skyhorsepublishing.com> wrote:


        Dear Roger,



        We think this would be a great opportunity bring out the paperback of the book and
        would like to propose a new [tle: MY	TIES	TO	THE	CAMPAIGN:	THE	TRUTH	ABOUT	MY
        FRONT	ROW	SEAT	TO	DONALD	TRUMP’S	REVOLUTION. It would be a chance to retake
        the narra[ve and set the record straight; as the deﬁni[ve account of how President
        Trump got elected, the book stands on its own but it would beneﬁt from a new
        introduc[on to the so`cover edi[on. You’d have the opportunity to edit or add any
        statements in the text as well.



        Not wan[ng to be presumptuous but also understanding that your [me is limited, we
        took the liberty of dra`ing the introduc[on. Feel free to make any changes to it as you
        see ﬁt. Acached here.



                                                                                                  Page 1 of 2
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I hope you agree that this is the right moment to bring this out.



Thank you,

Mike



_____________________________

Michael Campbell
Skyhorse Publishing, Inc.

307 W 36th Street, 11th Floor | New York, NY 10018

212-643-6816 x254

email: mcampbell@skyhorsepublishing.com

www.skyhorsepublishing.com




<INTRODUCTION TO MY TIES TO THE CAMPAIGN.docx>




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   Document 5: Emails re: First Full Exchange of Negotiations
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Please let me know when the wire has been sent so I may let Nydia know to confirm.

Grant

Grant J. Smith, Esq.
StrategySmith, PA
401 East Las Olas Boulevard
Suite 130-120
Fort Lauderdale, FL 33301
954.328.9064 - Direct

From: tony <tlyons4808@aol.com>
Date: Monday, December 17, 2018 at 2:16 PM
To: Grant Smith <gsmith@strategysmith.com>, "dnotte@skyhorsepublishing.com"
<dnotte@skyhorsepublishing.com>, "mcampbell@skyhorsepublishing.com"
<mcampbell@skyhorsepublishing.com>, "mgompertz@skyhorsepublishing.com"
<mgompertz@skyhorsepublishing.com>, "crawford@allworth.com" <crawford@allworth.com>
Subject: Re: Roger Stone
There could be negative numbers in any given period, but it's highly unlikely given that nothing has been published
recently.

On the paperback, we want it to be part of the agreement. Can Roger come up with a new title? That would make it
easy. How about we say, Roger has until January 15th to deliver the new introduction. If he doesn't, we will just
publish it under the new title.

-----Original Message-----
From: Grant Smith <gsmith@strategysmith.com>
To: tony <tlyons4808@aol.com>; dnotte@skyhorsepublishing.com <dnotte@skyhorsepublishing.com>;
mcampbell@skyhorsepublishing.com <mcampbell@skyhorsepublishing.com>;
mgompertz@skyhorsepublishing.com <mgompertz@skyhorsepublishing.com>; crawford@allworth.com
<crawford@allworth.com>
Sent: Mon, Dec 17, 2018 12:08 pm
Subject: Re: Roger Stone

OK.

You did not address the paperback title approval/discussion in January. Also, You did not
address negative numbers.

Grant

Grant J. Smith, Esq.
StrategySmith, PA
401 East Las Olas Boulevard
Suite 130-120
Fort Lauderdale, FL 33301
954.328.9064 - Direct

From: tony <tlyons4808@aol.com>
Date: Monday, December 17, 2018 at 12:01 PM
To: Grant Smith <gsmith@strategysmith.com>, "dnotte@skyhorsepublishing.com"
<dnotte@skyhorsepublishing.com>, "mcampbell@skyhorsepublishing.com"

                                                                                                                Page 2 of 6
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<mcampbell@skyhorsepublishing.com>, "mgompertz@skyhorsepublishing.com"
<mgompertz@skyhorsepublishing.com>, "crawford@allworth.com" <crawford@allworth.com>
Subject: Re: Roger Stone
There always has to be a setoff for returns. It's the same for any publisher. The more we print and ship, the more we
sell. You wouldn't get a reduction for printing costs going forward.

-----Original Message-----
From: Grant Smith <gsmith@strategysmith.com>
To: tony <tlyons4808@aol.com>; dnotte@skyhorsepublishing.com <dnotte@skyhorsepublishing.com>;
mcampbell@skyhorsepublishing.com <mcampbell@skyhorsepublishing.com>;
mgompertz@skyhorsepublishing.com <mgompertz@skyhorsepublishing.com>; crawford@allworth.com
<crawford@allworth.com>
Sent: Mon, Dec 17, 2018 11:57 am
Subject: Re: Roger Stone

I guess the point is that over printing would lead to more returns which would potentially cause
a negative number. In the alternative, if there were no setoff for returns and the     was
strictly on gross, we could live with that.

Grant

Grant J. Smith, Esq.
StrategySmith, PA
401 East Las Olas Boulevard
Suite 130-120
Fort Lauderdale, FL 33301
954.328.9064 - Direct

From: tony <tlyons4808@aol.com>
Date: Monday, December 17, 2018 at 11:55 AM
To: Grant Smith <gsmith@strategysmith.com>, "dnotte@skyhorsepublishing.com"
<dnotte@skyhorsepublishing.com>, "mcampbell@skyhorsepublishing.com"
<mcampbell@skyhorsepublishing.com>, "mgompertz@skyhorsepublishing.com"
<mgompertz@skyhorsepublishing.com>, "crawford@allworth.com" <crawford@allworth.com>
Subject: Re: Roger Stone
You would have nothing to do with our printing going forward. You would get credit for all books that sold, less
returns, so I think  makes sense.


-----Original Message-----
From: Grant Smith <gsmith@strategysmith.com>
To: tony <tlyons4808@aol.com>; dnotte@skyhorsepublishing.com <dnotte@skyhorsepublishing.com>;
mcampbell@skyhorsepublishing.com <mcampbell@skyhorsepublishing.com>;
mgompertz@skyhorsepublishing.com <mgompertz@skyhorsepublishing.com>; crawford@allworth.com
<crawford@allworth.com>
Sent: Mon, Dec 17, 2018 11:50 am
Subject: Re: Roger Stone

Tony,

A couple of questions and I think we are almost done:



                                                                                                                   Page 3 of 6
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   1. Do you anticipate negative numbers? We would propose that negative numbers are a
     result of over printing and should not be deducted from the author fee.
   2. Roger did some research and thinks a        fee is more appropriate if returns are
     included since he has no control over printing
  3. Can the paperback title discussion wait until next month?
Let me know and I think we can button this up shortly.


Grant

Grant J. Smith, Esq.
StrategySmith, PA
401 East Las Olas Boulevard
Suite 130-120
Fort Lauderdale, FL 33301
954.328.9064 - Direct

From: tony <tlyons4808@aol.com>
Date: Monday, December 17, 2018 at 10:55 AM
To: Grant Smith <gsmith@strategysmith.com>, "dnotte@skyhorsepublishing.com"
<dnotte@skyhorsepublishing.com>, "mcampbell@skyhorsepublishing.com"
<mcampbell@skyhorsepublishing.com>, "mgompertz@skyhorsepublishing.com"
<mgompertz@skyhorsepublishing.com>, "crawford@allworth.com" <crawford@allworth.com>
Subject: Re: Roger Stone
Hi Grant,

I've put some notes below in caps.

Let me know what you think.

All the best,

Tony


-----Original Message-----
From: Grant Smith <gsmith@strategysmith.com>
To: tony <tlyons4808@aol.com>; dnotte@skyhorsepublishing.com <dnotte@skyhorsepublishing.com>;
mcampbell@skyhorsepublishing.com <mcampbell@skyhorsepublishing.com>;
mgompertz@skyhorsepublishing.com <mgompertz@skyhorsepublishing.com>; Tony Lyons
<TLyons@skyhorsepublishing.com>
Sent: Mon, Dec 17, 2018 10:17 am
Subject: Re: Roger Stone

Tony-

Roger and I have discussed this extensively. Here is what he is proposing:

   1. Paperback book title mutually agreeable, the one proposed would not play well either in
      public or in the administration. THAT MAKES SENSE. WHAT TITLE DOES ROGER
      HAVE IN MIND?
   2. Need to understand the formula for payment, in the body below you propose       of net,
      and the formula would indicate gross, Roger would accept gross, there is too much

                                                                                                Page 4 of 6
             Case 1:19-cr-00018-ABJ Document 61-2 Filed 03/11/19 Page 19 of 94

         sleight of hand with net. HOW ABOUT GROSS SALES (DEFINED AS TOTAL SALES,
         LESS RETURNS).
   3.    Roger Would take             up front payment, by the end of the day Tuesday (he has
         people who wrote with him that he still owes money because of the messed up
         accountings and the over printing of books…much more money was expected). WE
         CAN GO TO           AND WOULD PAY BY WIRE TRANSFER IF WE CAN WORK THIS
         OUT TODAY.
   4.    Roger would write the new introduction over the holiday and deliver the first week of
         January for which he would want            . WE CAN'T PAY MORE THAN               FOR THE
         PAPERBACK INTRODUCTION.
   5.    The        author fee would be paid quarterly by the 15th day after the close of the
         calendar quarter for the immediately preceding quarter – since there is no real
         reconciliation, it would be based on the straight sales. I'M OKAY WITH THIS.
   6.    How would revenue be measured? Book Scan, your internal records,…? OUR
         INTERNAL RECORDS, BUT WE WILL ALSO PROVIDE BOOKSCAN NUMBERS FOR
         SUPPORT. OUR RECORDS SHOULD ALWAYS BE HIGHER THAN BOOKSCAN. IF
         THEY ARE LOWER, THERE WOULD BE AN ERROR.

We are ready to move on, but it has to be the right deal.

I look forward to hearing back from you and your team today.

Grant

Grant J. Smith, Esq.
StrategySmith, PA
401 East Las Olas Boulevard
Suite 130-120
Fort Lauderdale, FL 33301
954.328.9064 - Direct

From: tony <tlyons4808@aol.com>
Date: Thursday, December 13, 2018 at 2:45 PM
To: Grant Smith <gsmith@strategysmith.com>, "dnotte@skyhorsepublishing.com"
<dnotte@skyhorsepublishing.com>, "mcampbell@skyhorsepublishing.com"
<mcampbell@skyhorsepublishing.com>, "mgompertz@skyhorsepublishing.com"
<mgompertz@skyhorsepublishing.com>
Subject: Roger Stone
Grant,

We pitched Roger on writing a short introduction (maybe 1-2 pages) for a paperback edition of The Making of the
President, with a new title. The new title would be My Ties to Trump's Campaign: What I knew, what I didn't know
and why Mueller is Wrong. It would give Roger a chance to set the record straight, clear his name, reach a wider
audience and make some money.

Roger's concern was that he hadn't made any money on the hardcover of The Making of the President. In fact, he
has been paid about          for the hardcover, but I still get the point.

Here's what I propose. I think it would save us all a lot of work in the future and Roger would not have to worry
about writing books that didn't make money.

We pay Roger           , which approximates everything due without the reserves. Then we pay an advance on the


                                                                                                                    Page 5 of 6
                Case 1:19-cr-00018-ABJ Document 61-2 Filed 03/11/19 Page 20 of 94

new paperback of             as soon as Roger sends us the 1-2 page introduction.

Going forward, we start fresh and pay         of our net receipts on all copies sold in any format of all of Roger's title,
with no reserves, no profit sharing. His statements would look like this:

copies sold
total revenue
      due

Period.

Let me know what you think.

All the best,

Tony




                                                                                                                        Page 6 of 6
 Case 1:19-cr-00018-ABJ Document 61-2 Filed 03/11/19 Page 21 of 94




Document 6: Emails re: Exchange of Information After Tentative
                         Agreement
          Case 1:19-cr-00018-ABJ Document 61-2 Filed 03/11/19 Page 22 of 94
                                               Sunday, March 10, 2019 at 1:30:25 PM Eastern Daylight Time

Subject: Re: Roger Stone
Date: Wednesday, December 19, 2018 at 8:32:16 AM Eastern Standard Time
From: Tony
To:      Grant Smith
CC:      Tad Crawford, dnoFe@skyhorsepublishing.com, mcampbell@skyhorsepublishing.com,
         mgompertz@skyhorsepublishing.com

Can you send the wire instrucNons again?

Sent from my iPhone

On Dec 19, 2018, at 7:56 AM, Grant Smith <gsmith@strategysmith.com> wrote:


     AFached please ﬁnd the agreement as executed by Roger. Please countersign and return
     a copy to me. The wire instrucNons were provided to Tony earlier this week, please let me
     know when the wire is sent today.

     Thank you,

     Grant
     ____________________
     Grant J. Smith, Esq.
     StrategySmith, PA
     401 East Las Olas Boulevard
     Suite 130-120
     Fort Lauderdale, FL 33301
     954.328.9064 - Direct

     From: Tad Crawford <crawford@allworth.com>
     Date: Tuesday, December 18, 2018 at 6:11 PM
     To: Grant Smith <gsmith@strategysmith.com>, 'tony' <tlyons4808@aol.com>
     Cc: "dnoFe@skyhorsepublishing.com" <dnoFe@skyhorsepublishing.com>,
     "mcampbell@skyhorsepublishing.com" <mcampbell@skyhorsepublishing.com>,
     "mgompertz@skyhorsepublishing.com" <mgompertz@skyhorsepublishing.com>
     Subject: RE: Roger Stone

     Grant,

     I have amended as per your request. The aFached should be ready for signatures.

     Best wishes,
     Tad

     From: Grant Smith <gsmith@strategysmith.com>
     Sent: Tuesday, December 18, 2018 5:02 PM
     To: Tad Crawford <crawford@allworth.com>; 'tony' <tlyons4808@aol.com>


                                                                                                  Page 1 of 10
       Case 1:19-cr-00018-ABJ Document 61-2 Filed 03/11/19 Page 23 of 94

Cc: dnoFe@skyhorsepublishing.com; mcampbell@skyhorsepublishing.com;
mgompertz@skyhorsepublishing.com
Subject: Re: Roger Stone

Tad-

I need you to make a change….

The release needs to be mutual for all periods prior to December 31, 2018.

Otherwise we are ready to sign.


Grant
____________________
Grant J. Smith, Esq.
StrategySmith, PA
401 East Las Olas Boulevard
Suite 130-120
Fort Lauderdale, FL 33301
954.328.9064 - Direct

From: Tad Crawford <crawford@allworth.com>
Date: Tuesday, December 18, 2018 at 12:59 PM
To: Grant Smith <gsmith@strategysmith.com>, 'tony' <tlyons4808@aol.com>
Cc: "dnoFe@skyhorsepublishing.com" <dnoFe@skyhorsepublishing.com>,
"mcampbell@skyhorsepublishing.com" <mcampbell@skyhorsepublishing.com>,
"mgompertz@skyhorsepublishing.com" <mgompertz@skyhorsepublishing.com>
Subject: RE: Roger Stone

Dear Grant,

We have accepted all your changes (including the change in the Bookazine rate) and the
aFachment is ready for signature. Please make a ﬁnal review and then we can have the parNes
sign.

Best wishes,
Tad

From: Grant Smith <gsmith@strategysmith.com>
Sent: Tuesday, December 18, 2018 10:20 AM
To: Tad Crawford <crawford@allworth.com>; 'tony' <tlyons4808@aol.com>
Cc: dnoFe@skyhorsepublishing.com; mcampbell@skyhorsepublishing.com;
mgompertz@skyhorsepublishing.com
Subject: Re: Roger Stone

AFached is a new redline.

Grant

                                                                                              Page 2 of 10
     Case 1:19-cr-00018-ABJ Document 61-2 Filed 03/11/19 Page 24 of 94


____________________
Grant J. Smith, Esq.
StrategySmith, PA
401 East Las Olas Boulevard
Suite 130-120
Fort Lauderdale, FL 33301
954.328.9064 - Direct

From: Tad Crawford <crawford@allworth.com>
Date: Monday, December 17, 2018 at 6:11 PM
To: 'tony' <tlyons4808@aol.com>, Grant Smith <gsmith@strategysmith.com>
Cc: "dnoFe@skyhorsepublishing.com" <dnoFe@skyhorsepublishing.com>,
"mcampbell@skyhorsepublishing.com" <mcampbell@skyhorsepublishing.com>,
"mgompertz@skyhorsepublishing.com" <mgompertz@skyhorsepublishing.com>
Subject: RE: Roger Stone

Dear Grant,

Tony Lyons asked that I send you our revision of the amendment. It is aFached and should
clarify all aspects of the new arrangement.

We look forward to ﬁnalizing this and moving forward on the new basis.

Best wishes,
Tad

From: tony <tlyons4808@aol.com>
Sent: Monday, December 17, 2018 5:16 PM
To: gsmith@strategysmith.com
Cc: dnoFe@skyhorsepublishing.com; mcampbell@skyhorsepublishing.com;
mgompertz@skyhorsepublishing.com; crawford@allworth.com
Subject: Re: Roger Stone

Our attorney is going over it. He's very quick.


-----Original Message-----
From: Grant Smith <gsmith@strategysmith.com>
To: tony <tlyons4808@aol.com>
Cc: dnotte@skyhorsepublishing.com <dnotte@skyhorsepublishing.com>;
mcampbell@skyhorsepublishing.com <mcampbell@skyhorsepublishing.com>;
mgompertz@skyhorsepublishing.com <mgompertz@skyhorsepublishing.com>;
crawford@allworth.com <crawford@allworth.com>
Sent: Mon, Dec 17, 2018 4:41 pm
Subject: Re: Roger Stone

Roger has reviewed and approved.

Grant

Grant J. Smith, Esq.
StrategySmith, PA

                                                                                           Page 3 of 10
     Case 1:19-cr-00018-ABJ Document 61-2 Filed 03/11/19 Page 25 of 94

401 East Las Olas Boulevard
Suite 130-120
Fort Lauderdale, FL 33301
954.328.9064 - Direct

From: tony <tlyons4808@aol.com>
Date: Monday, December 17, 2018 at 4:37 PM
To: Grant Smith <gsmith@strategysmith.com>
Cc: "dnotte@skyhorsepublishing.com" <dnotte@skyhorsepublishing.com>,
"mcampbell@skyhorsepublishing.com" <mcampbell@skyhorsepublishing.com>,
"mgompertz@skyhorsepublishing.com" <mgompertz@skyhorsepublishing.com>,
"crawford@allworth.com" <crawford@allworth.com>
Subject: Re: Roger Stone
Let me look this over and get back to you.


-----Original Message-----
From: Grant Smith <gsmith@strategysmith.com>
To: Tony <tlyons4808@aol.com>
Cc: dnotte@skyhorsepublishing.com <dnotte@skyhorsepublishing.com>;
mcampbell@skyhorsepublishing.com <mcampbell@skyhorsepublishing.com>;
mgompertz@skyhorsepublishing.com <mgompertz@skyhorsepublishing.com>;
crawford@allworth.com <crawford@allworth.com>
Sent: Mon, Dec 17, 2018 4:01 pm
Subject: Re: Roger Stone

Tony-

Does this work? I am also sending to Roger for his input now.

Grant

Grant J. Smith, Esq.
StrategySmith, PA
401 East Las Olas Boulevard
Suite 130-120
Fort Lauderdale, FL 33301
954.328.9064 - Direct

From: Tony <tlyons4808@aol.com>
Date: Monday, December 17, 2018 at 2:35 PM
To: Grant Smith <gsmith@strategysmith.com>
Cc: "dnotte@skyhorsepublishing.com" <dnotte@skyhorsepublishing.com>,
"mcampbell@skyhorsepublishing.com" <mcampbell@skyhorsepublishing.com>,
"mgompertz@skyhorsepublishing.com" <mgompertz@skyhorsepublishing.com>,
"crawford@allworth.com" <crawford@allworth.com>
Subject: Re: Roger Stone
Okay great

Sent from my iPhone



                                                                         Page 4 of 10
Case 1:19-cr-00018-ABJ Document 61-2 Filed 03/11/19 Page 26 of 94
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 Grant

 Grant J. Smith, Esq.
 StrategySmith, PA
 401 East Las Olas Boulevard
 Suite 130-120
 Fort Lauderdale, FL 33301
 954.328.9064 - Direct

 From: tony <tlyons4808@aol.com>
 Date: Monday, December 17, 2018 at 2:16 PM
 To: Grant Smith <gsmith@strategysmith.com>,
 "dnotte@skyhorsepublishing.com" <dnotte@skyhorsepublishing.com>,
 "mcampbell@skyhorsepublishing.com"
 <mcampbell@skyhorsepublishing.com>,
 "mgompertz@skyhorsepublishing.com"
 <mgompertz@skyhorsepublishing.com>, "crawford@allworth.com"
 <crawford@allworth.com>
 Subject: Re: Roger Stone
 There could be negative numbers in any given period, but it's highly unlikely given that
 nothing has been published recently.

 On the paperback, we want it to be part of the agreement. Can Roger come up with a
 new title? That would make it easy. How about we say, Roger has until January 15th to
 deliver the new introduction. If he doesn't, we will just publish it under the new title.

 -----Original Message-----
 From: Grant Smith <gsmith@strategysmith.com>
 To: tony <tlyons4808@aol.com>; dnotte@skyhorsepublishing.com
 <dnotte@skyhorsepublishing.com>; mcampbell@skyhorsepublishing.com
 <mcampbell@skyhorsepublishing.com>; mgompertz@skyhorsepublishing.com
 <mgompertz@skyhorsepublishing.com>; crawford@allworth.com
 <crawford@allworth.com>
 Sent: Mon, Dec 17, 2018 12:08 pm
 Subject: Re: Roger Stone

 OK.

 You did not address the paperback title approval/discussion in January.
 Also, You did not address negative numbers.

 Grant

 Grant J. Smith, Esq.
 StrategySmith, PA
 401 East Las Olas Boulevard
 Suite 130-120
 Fort Lauderdale, FL 33301
 954.328.9064 - Direct

 From: tony <tlyons4808@aol.com>
 Date: Monday, December 17, 2018 at 12:01 PM

                                                                                             Page 6 of 10
Case 1:19-cr-00018-ABJ Document 61-2 Filed 03/11/19 Page 28 of 94

 To: Grant Smith <gsmith@strategysmith.com>,
 "dnotte@skyhorsepublishing.com" <dnotte@skyhorsepublishing.com>,
 "mcampbell@skyhorsepublishing.com"
 <mcampbell@skyhorsepublishing.com>,
 "mgompertz@skyhorsepublishing.com"
 <mgompertz@skyhorsepublishing.com>, "crawford@allworth.com"
 <crawford@allworth.com>
 Subject: Re: Roger Stone
 There always has to be a setoff for returns. It's the same for any publisher. The more we
 print and ship, the more we sell. You wouldn't get a reduction for printing costs going
 forward.

 -----Original Message-----
 From: Grant Smith <gsmith@strategysmith.com>
 To: tony <tlyons4808@aol.com>; dnotte@skyhorsepublishing.com
 <dnotte@skyhorsepublishing.com>; mcampbell@skyhorsepublishing.com
 <mcampbell@skyhorsepublishing.com>; mgompertz@skyhorsepublishing.com
 <mgompertz@skyhorsepublishing.com>; crawford@allworth.com
 <crawford@allworth.com>
 Sent: Mon, Dec 17, 2018 11:57 am
 Subject: Re: Roger Stone

 I guess the point is that over printing would lead to more returns which
 would potentially cause a negative number. In the alternative, if there
 were no setoff for returns and the       was strictly on gross, we could
 live with that.

 Grant

 Grant J. Smith, Esq.
 StrategySmith, PA
 401 East Las Olas Boulevard
 Suite 130-120
 Fort Lauderdale, FL 33301
 954.328.9064 - Direct

 From: tony <tlyons4808@aol.com>
 Date: Monday, December 17, 2018 at 11:55 AM
 To: Grant Smith <gsmith@strategysmith.com>,
 "dnotte@skyhorsepublishing.com" <dnotte@skyhorsepublishing.com>,
 "mcampbell@skyhorsepublishing.com"
 <mcampbell@skyhorsepublishing.com>,
 "mgompertz@skyhorsepublishing.com"
 <mgompertz@skyhorsepublishing.com>, "crawford@allworth.com"
 <crawford@allworth.com>
 Subject: Re: Roger Stone
 You would have nothing to do with our printing going forward. You would get credit for
 all books that sold, less returns, so I think  makes sense.


 -----Original Message-----
 From: Grant Smith <gsmith@strategysmith.com>


                                                                                             Page 7 of 10
Case 1:19-cr-00018-ABJ Document 61-2 Filed 03/11/19 Page 29 of 94

 To: tony <tlyons4808@aol.com>; dnotte@skyhorsepublishing.com
 <dnotte@skyhorsepublishing.com>; mcampbell@skyhorsepublishing.com
 <mcampbell@skyhorsepublishing.com>; mgompertz@skyhorsepublishing.com
 <mgompertz@skyhorsepublishing.com>; crawford@allworth.com
 <crawford@allworth.com>
 Sent: Mon, Dec 17, 2018 11:50 am
 Subject: Re: Roger Stone

 Tony,

 A couple of questions and I think we are almost done:


     1. Do you anticipate negative numbers? We would propose that
       negative numbers are a result of over printing and should not be
       deducted from the author fee.
    2. Roger did some research and thinks a         fee is more
       appropriate if returns are included since he has no control over
       printing
    3. Can the paperback title discussion wait until next month?
 Let me know and I think we can button this up shortly.


 Grant

 Grant J. Smith, Esq.
 StrategySmith, PA
 401 East Las Olas Boulevard
 Suite 130-120
 Fort Lauderdale, FL 33301
 954.328.9064 - Direct

 From: tony <tlyons4808@aol.com>
 Date: Monday, December 17, 2018 at 10:55 AM
 To: Grant Smith <gsmith@strategysmith.com>,
 "dnotte@skyhorsepublishing.com" <dnotte@skyhorsepublishing.com>,
 "mcampbell@skyhorsepublishing.com"
 <mcampbell@skyhorsepublishing.com>,
 "mgompertz@skyhorsepublishing.com"
 <mgompertz@skyhorsepublishing.com>, "crawford@allworth.com"
 <crawford@allworth.com>
 Subject: Re: Roger Stone
 Hi Grant,

 I've put some notes below in caps.

 Let me know what you think.

 All the best,

 Tony




                                                                          Page 8 of 10
Case 1:19-cr-00018-ABJ Document 61-2 Filed 03/11/19 Page 30 of 94

 -----Original Message-----
 From: Grant Smith <gsmith@strategysmith.com>
 To: tony <tlyons4808@aol.com>; dnotte@skyhorsepublishing.com
 <dnotte@skyhorsepublishing.com>; mcampbell@skyhorsepublishing.com
 <mcampbell@skyhorsepublishing.com>; mgompertz@skyhorsepublishing.com
 <mgompertz@skyhorsepublishing.com>; Tony Lyons
 <TLyons@skyhorsepublishing.com>
 Sent: Mon, Dec 17, 2018 10:17 am
 Subject: Re: Roger Stone

 Tony-

 Roger and I have discussed this extensively. Here is what he is
 proposing:

    1. Paperback book title mutually agreeable, the one proposed would
         not play well either in public or in the administration. THAT
         MAKES SENSE. WHAT TITLE DOES ROGER HAVE IN MIND?
    2.   Need to understand the formula for payment, in the body below
         you propose         of net, and the formula would indicate gross,
         Roger would accept gross, there is too much sleight of hand with
         net. HOW ABOUT GROSS SALES (DEFINED AS TOTAL
         SALES, LESS RETURNS).
    3.   Roger Would take              up front payment, by the end of the
         day Tuesday (he has people who wrote with him that he still owes
         money because of the messed up accountings and the over
         printing of books…much more money was expected). WE CAN
         GO TO         AND WOULD PAY BY WIRE TRANSFER IF WE
         CAN WORK THIS OUT TODAY.
    4.   Roger would write the new introduction over the holiday and
         deliver the first week of January for which he would want           .
         WE CAN'T PAY MORE THAN                 FOR THE PAPERBACK
         INTRODUCTION.
    5.   The        author fee would be paid quarterly by the 15th day after
         the close of the calendar quarter for the immediately preceding
         quarter – since there is no real reconciliation, it would be based
         on the straight sales. I'M OKAY WITH THIS.
    6.   How would revenue be measured? Book Scan, your internal
         records,…? OUR INTERNAL RECORDS, BUT WE WILL ALSO
         PROVIDE BOOKSCAN NUMBERS FOR SUPPORT. OUR
         RECORDS SHOULD ALWAYS BE HIGHER THAN BOOKSCAN.
         IF THEY ARE LOWER, THERE WOULD BE AN ERROR.

 We are ready to move on, but it has to be the right deal.

 I look forward to hearing back from you and your team today.

 Grant

 Grant J. Smith, Esq.
 StrategySmith, PA
 401 East Las Olas Boulevard


                                                                                 Page 9 of 10
    Case 1:19-cr-00018-ABJ Document 61-2 Filed 03/11/19 Page 31 of 94

     Suite 130-120
     Fort Lauderdale, FL 33301
     954.328.9064 - Direct

     From: tony <tlyons4808@aol.com>
     Date: Thursday, December 13, 2018 at 2:45 PM
     To: Grant Smith <gsmith@strategysmith.com>,
     "dnotte@skyhorsepublishing.com" <dnotte@skyhorsepublishing.com>,
     "mcampbell@skyhorsepublishing.com"
     <mcampbell@skyhorsepublishing.com>,
     "mgompertz@skyhorsepublishing.com"
     <mgompertz@skyhorsepublishing.com>
     Subject: Roger Stone
     Grant,

     We pitched Roger on writing a short introduction (maybe 1-2 pages) for a paperback
     edition of The Making of the President, with a new title. The new title would be My Ties
     to Trump's Campaign: What I knew, what I didn't know and why Mueller is Wrong. It
     would give Roger a chance to set the record straight, clear his name, reach a wider
     audience and make some money.

     Roger's concern was that he hadn't made any money on the hardcover of The Making
     of the President. In fact, he has been paid about     for the hardcover, but I still get
     the point.

     Here's what I propose. I think it would save us all a lot of work in the future and Roger
     would not have to worry about writing books that didn't make money.

     We pay Roger         , which approximates everything due without the reserves. Then
     we pay an advance on the new paperback of          as soon as Roger sends us the 1-
     2 page introduction.

     Going forward, we start fresh and pay          of our net receipts on all copies sold in any
     format of all of Roger's title, with no reserves, no profit sharing. His statements would
     look like this:

     copies sold
     total revenue
           due

     Period.

     Let me know what you think.

     All the best,

     Tony



<FINAL - Stone 2018 Global Amendment for signature.pdf>




                                                                                                    Page 10 of 10
Case 1:19-cr-00018-ABJ Document 61-2 Filed 03/11/19 Page 32 of 94




Document 7: Emails re: Receipt of Countersigned Agreement
Case 1:19-cr-00018-ABJ Document 61-2 Filed 03/11/19 Page 33 of 94
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Suite 130-120
Fort Lauderdale, FL 33301
954.328.9064 - Direct




                                                                              Page 2 of 2
Case 1:19-cr-00018-ABJ Document 61-2 Filed 03/11/19 Page 35 of 94




       Document 8: Emails re: Confirmation of Wire for
                    Universal Settlement
               Case 1:19-cr-00018-ABJ Document 61-2 Filed 03/11/19 Page 36 of 94
                                                         Sunday, March 10, 2019 at 1:32:21 PM Eastern Daylight Time

Subject: RE: Roger Stone
Date: Wednesday, December 19, 2018 at 5:31:49 PM Eastern Standard Time
From: Ann Choi
To:      Tony, Grant Smith
CC:      Dean NoGe, Tad Crawford, Michael Campbell, Mark Gompertz

The wire was sent. Please note that the wire is sOll pending.

Thanks.

                                                      ONLINE DOMESTIC WIRE TRANSFER VIA:



Pending
Open information dialog: Pending



Ann Choi
Controller
Skyhorse Publishing, Inc.
Allworth Press | Arcade Publishing | Carrel Books
Gary Null Publishing | Good Books | Helios Press | Night Shade Books
Not For Tourists | Sky Pony Press | Sports Publishing | Talos Press | Yucca Publishing
Racehorse Publishing|Racehorse Books for Young Readers|Clydesdale Press|Seahorse
307 W 36th Street, 11th Floor | New York, NY 10018
Ph:(212) 643-6816 x 297 | Fax: (212) 643-6819
www.skyhorsepublishing.com
www.blog.skyhorsepublishing.com

Like us on Facebook, follow on TwiGer and Instagram


Please note our offices will be closed Dec 24th thru Jan 1st. Happy Holidays!

From: Tony <tlyons4808@aol.com>
Sent: Wednesday, December 19, 2018 5:30 PM
To: Grant Smith <gsmith@strategysmith.com>; Ann Choi <achoi@skyhorsepublishing.com>
Cc: Dean NoGe <dnoGe@skyhorsepublishing.com>; Tad Crawford <crawford@allworth.com>; Michael
Campbell <Mcampbell@skyhorsepublishing.com>; Mark Gompertz <mgompertz@skyhorsepublishing.com>
Subject: Re: Roger Stone

Ann, please conﬁrm. Thanks, Tony

Sent from my iPhone

On Dec 19, 2018, at 5:03 PM, Grant Smith <gsmith@strategysmith.com> wrote:


                                                                                                             Page 1 of 3
      Case 1:19-cr-00018-ABJ Document 61-2 Filed 03/11/19 Page 37 of 94


I have cut and pasted below Nydia’s text to me when I asked her to conﬁrm the wire today
at 5pm….

“NO not even in pending deposits!”

Please provide me the wire conﬁrmaOon.

Grant
____________________
Grant J. Smith, Esq.
StrategySmith, PA
401 East Las Olas Boulevard
Suite 130-120
Fort Lauderdale, FL 33301
954.328.9064 - Direct

From: Tony <tlyons4808@aol.com>
Date: Wednesday, December 19, 2018 at 4:56 PM
To: Grant Smith <gsmith@strategysmith.com>
Cc: Dean NoGe <dnoGe@skyhorsepublishing.com>, Tad Crawford
<crawford@allworth.com>, Michael Campbell <Mcampbell@skyhorsepublishing.com>,
Mark Gompertz <mgompertz@skyhorsepublishing.com>
Subject: Re: Roger Stone

Yes

Sent from my iPhone

On Dec 19, 2018, at 4:50 PM, Grant Smith <gsmith@strategysmith.com> wrote:

       I never heard back, but did the money get wired today?

       Grant
       ____________________
       Grant J. Smith, Esq.
       StrategySmith, PA
       401 East Las Olas Boulevard
       Suite 130-120
       Fort Lauderdale, FL 33301
       954.328.9064 - Direct

       From: Dean NoGe <dnoGe@skyhorsepublishing.com>
       Date: Wednesday, December 19, 2018 at 11:55 AM
       To: Grant Smith <gsmith@strategysmith.com>, Tony <tlyons4808@aol.com>
       Cc: Tad Crawford <crawford@allworth.com>, Michael Campbell
       <Mcampbell@skyhorsepublishing.com>, Mark Gompertz
       <mgompertz@skyhorsepublishing.com>
       Subject: RE: Roger Stone

                                                                                           Page 2 of 3
Case 1:19-cr-00018-ABJ Document 61-2 Filed 03/11/19 Page 38 of 94
Case 1:19-cr-00018-ABJ Document 61-2 Filed 03/11/19 Page 39 of 94




       Document 9: Emails re: Update on Progress of New
            Introduction/Working on New Draft
          Case 1:19-cr-00018-ABJ Document 61-2 Filed 03/11/19 Page 40 of 94
                                               Sunday, March 10, 2019 at 1:33:26 PM Eastern Daylight Time

Subject: Paperback
Date: Sunday, January 13, 2019 at 2:03:05 PM Eastern Standard Time
From: Roger Stone
To:      Tony Lyons, tlyons4808@aol.com, Grant Smith


I am puKng the ﬁnal touches on a new introducNon for the making of the president 2016 and will
forward the draQ in the morning or late tonight. It is substanNally longer and beRer than the draQ sent
to me by your folks which was a good starNng point. What do you have in mind for a Ntle ?

Roger Stone




                                                                                                   Page 1 of 1
Case 1:19-cr-00018-ABJ Document 61-2 Filed 03/11/19 Page 41 of 94




Document 10: Emails re: Stone Transmission of Introduction
                          Draft
          Case 1:19-cr-00018-ABJ Document 61-2 Filed 03/11/19 Page 42 of 94
                                             Sunday, March 10, 2019 at 1:34:07 PM Eastern Daylight Time

Subject:    New Introduc-on
Date:       Monday, January 14, 2019 at 11:48:53 AM Eastern Standard Time
From:       Roger Stone
To:         Tony Lyons, Michael Campbell, Grant Smith
AFachments: new book introduc-on.docx

for the Making of the President 2016 in paperback

3386 words

R




                                                                                                 Page 1 of 1
Case 1:19-cr-00018-ABJ Document 61-2 Filed 03/11/19 Page 43 of 94




                Document 11: Emails re:
                    Proposed Title
           Case 1:19-cr-00018-ABJ Document 61-2 Filed 03/11/19 Page 44 of 94
                                              Sunday, March 10, 2019 at 2:00:05 PM Eastern Daylight Time

Subject: Re: new idea for a -tle
Date: Friday, March 8, 2019 at 9:36:13 AM Eastern Standard Time
From: Roger Stone
To:      Grant Smith

#4

On Thu, Mar 7, 2019 at 2:02 PM Roger Stone <players02@gmail.com> wrote:
 #4

  ---------- Forwarded message ---------
  From: Tony Lyons <TLyons@skyhorsepublishing.com>
  Date: Mon, Jan 14, 2019 at 4:41 PM
  Subject: new idea for a -tle
  To: Roger Stone <players02@gmail.com>
  Cc: Michael Campbell <Mcampbell@skyhorsepublishing.com>, Mark Gompertz
  <mgompertz@skyhorsepublishing.com>



  Roger,



  How about this -tle:



  The Myth of Collusion: The Inside Story of How I REALLY Helped Trump Win



  We can send copies to all U.S. Senators or you can hand them out.



  Let me know.



  Tony




                                                                                                  Page 1 of 1
Case 1:19-cr-00018-ABJ Document 61-2 Filed 03/11/19 Page 45 of 94




             Document 12: Emails re: Title of
                        Book
              Case 1:19-cr-00018-ABJ Document 61-2 Filed 03/11/19 Page 46 of 94
                                                Monday, March 11, 2019 at 2:16:40 PM Eastern Daylight Time

Subject: Fwd: new idea for a -tle
Date: Monday, March 11, 2019 at 2:14:50 PM Eastern Daylight Time
From: Roger Stone
To:      Grant Smith




---------- Forwarded message ---------
From: Roger Stone <players02@gmail.com>
Date: Mon, Jan 14, 2019 at 4:52 PM
Subject: Re: new idea for a -tle
To: Tony Lyons <TLyons@skyhorsepublishing.com>




I could live with--


The Myth of Russian Collusion: The Inside Story of How Donald Trump really won



I can't be seen taking credit for HIS victory



R.


On Mon, Jan 14, 2019 at 4:41 PM Tony Lyons <TLyons@skyhorsepublishing.com> wrote:

     Roger,



     How about this -tle:



     The Myth of Collusion: The Inside Story of How I REALLY Helped Trump Win



     We can send copies to all U.S. Senators or you can hand them out.



     Let me know.


                                                                                                    Page 1 of 2
       Case 1:19-cr-00018-ABJ Document 61-2 Filed 03/11/19 Page 47 of 94




Tony




                                                                           Page 2 of 2
Case 1:19-cr-00018-ABJ Document 61-2 Filed 03/11/19 Page 48 of 94




   Document 13: Emails re: Final Edits and Approval of New
                       Introduction
               Case 1:19-cr-00018-ABJ Document 61-2 Filed 03/11/19 Page 49 of 94
                                                    Sunday, March 10, 2019 at 1:36:16 PM Eastern Daylight Time

Subject: RE: New Introduc0on
Date: Tuesday, January 15, 2019 at 11:15:31 AM Eastern Standard Time
From: Tony Lyons
To:      Roger Stone, Grant Smith, Michael Campbell
CC:      Brian Peterson

Great and thanks. We will work on the cover now.

From: Roger Stone <players02@gmail.com>
Sent: Tuesday, January 15, 2019 11:13 AM
To: Grant Smith <gsmith@strategysmith.com>; Michael Campbell <Mcampbell@skyhorsepublishing.com>;
Tony Lyons <TLyons@skyhorsepublishing.com>
Subject: Re: New Introduc0on


I approve all of the edits by you and Grant

R.

On Tue, Jan 15, 2019 at 8:44 AM Grant Smith <gsmith@strategysmith.com> wrote:

     See my comments and edits aXached. These have not been approved by Roger. For at least the
     substan0ve changes, he MUST approve prior to their inclusion. For the nit edits, I believe you can
     go forward. I have provided them in PDF and redline Word so whatever device you are reading
     them on, you will be able to see them. Roger has ﬁnal approval from our side.

     Grant
     ____________________
     Grant J. Smith, Esq.
     StrategySmith, PA
     401 East Las Olas Boulevard
     Suite 130-120
     Fort Lauderdale, FL 33301
     954.328.9064 - Direct

     From: Michael Campbell <Mcampbell@skyhorsepublishing.com>
     Date: Monday, January 14, 2019 at 5:42 PM
     To: Roger Stone <players02@gmail.com>
     Cc: Mark Gompertz <mgompertz@skyhorsepublishing.com>, Grant Smith
     <gsmith@strategysmith.com>, Tony Lyons <TLyons@skyhorsepublishing.com>
     Subject: RE: New Introduc0on

     Roger,

     Edited intro aXached here. Just copyedits and reordering a couple paragraphs in the Mueller sec0on to
     beXer show the progression.

     Thanks,

                                                                                                             Page 1 of 2
          Case 1:19-cr-00018-ABJ Document 61-2 Filed 03/11/19 Page 50 of 94

Mike
_____________________________
Michael Campbell
Skyhorse Publishing, Inc.
307 W 36th Street, 11th Floor | New York, NY 10018
212-643-6816 x254
email: mcampbell@skyhorsepublishing.com
www.skyhorsepublishing.com

From: Roger Stone <players02@gmail.com>
Sent: Monday, January 14, 2019 11:49 AM
To: Tony Lyons <TLyons@skyhorsepublishing.com>; Michael Campbell
<Mcampbell@skyhorsepublishing.com>; Grant Smith <gsmith@strategysmith.com>
Subject: New Introduc0on

for the Making of the President 2016 in paperback

3386 words

R




                                                                              Page 2 of 2
Case 1:19-cr-00018-ABJ Document 61-2 Filed 03/11/19 Page 51 of 94




     Document 14: Emails re: Payment for Introduction
Case 1:19-cr-00018-ABJ Document 61-2 Filed 03/11/19 Page 52 of 94
          Case 1:19-cr-00018-ABJ Document 61-2 Filed 03/11/19 Page 53 of 94

>> Now that the new introducGon is complete, when can roger expect his wire for the   Please let
me know.
>>
>>
>> Grant
>> 954-328-9064
>>
>>
>> Sent from my iPhone
>
>
>
>




                                                                                             Page 2 of 2
Case 1:19-cr-00018-ABJ Document 61-2 Filed 03/11/19 Page 54 of 94




     Document 15: Emails re: Stone Book Tour Inquiry
              Case 1:19-cr-00018-ABJ Document 61-2 Filed 03/11/19 Page 55 of 94
                                               Sunday, March 10, 2019 at 2:03:00 PM Eastern Daylight Time

Subject: Fwd: &ming
Date: Friday, March 8, 2019 at 9:49:45 AM Eastern Standard Time
From: Roger Stone
To:      Grant Smith

# 17

---------- Forwarded message ---------
From: Roger Stone <players02@gmail.com>
Date: Thu, Mar 7, 2019 at 2:20 PM
Subject: Fwd: &ming
To: Grant Smith <gsmith@strategysmith.com>


#17 same issue

---------- Forwarded message ---------
From: Roger Stone <players02@gmail.com>
Date: Wed, Jan 16, 2019 at 5:30 PM
Subject: Re: &ming
To: Tony Lyons <TLyons@skyhorsepublishing.com>


Yes but since I gave up my apartment are you paying for hotel and travel ?

Roger Stone


On Jan 16, 2019, at 5:08 PM, Tony Lyons <TLyons@skyhorsepublishing.com> wrote:


       Roger,



       We’re planning to publish on Tuesday, March 5th. Can you be in NYC that week? We want
       to start scheduling TV and radio.



       All the best,



       Tony




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  Document 16: Emails re: Approval of Stone for Jacket Flap
              Case 1:19-cr-00018-ABJ Document 61-2 Filed 03/11/19 Page 57 of 94
                                                 Sunday, March 10, 2019 at 2:01:55 PM Eastern Daylight Time

Subject: Re: Copy for approval
Date: Friday, March 8, 2019 at 9:39:26 AM Eastern Standard Time
From: Roger Stone
To:      Grant Smith

#8

On Thu, Mar 7, 2019 at 2:05 PM Roger Stone <players02@gmail.com> wrote:
 #8

  On Tue, Jan 15, 2019 at 4:50 PM Michael Campbell <Mcampbell@skyhorsepublishing.com> wrote:

     Roger,



     Please take a look at the copy below and approve or provide edits. I used the approved copy from
     last prinVng to put this together, which will be catalog copy and the basis for jacket ﬂap copy.




     Don’t believe what you hear from the liberal media and the Russia witch hunt—this is the true
     story of the Trump campaign, now updated to address Robert Mueller’s charges.

     Two years ago, Roger Stone, a New	York	Times bestselling author, longVme poliVcal adviser and
     friend to Donald Trump, and consummate Republican strategist, gave us Making	of	the	President
     2016—the ﬁrst in-depth examinaVon of how Trump’s campaign delivered the biggest presidenVal
     elecVon upset in history. But since then, the Deep State poliVcal establishment has worked
     Vrelessly to undo those results. The	Myth	of	Russian	Collusion	adds to and updates Stone’s iniVal
     work to set the record straight.

     Trump’s elecVon win was a resounding repudiaVon of the failed leadership of both parVes.
     American people wanted something new, and President Trump has delivered: his tax cuts and
     regulatory rollbacks have given us the strongest economy in American history, he is relentless in
     his eﬀorts to protect American ciVzens, and he refuses to do business as usual.

     But America’s ruling elite and liberal media, feeling threatened, have conspired to create the
     biggest witch hunt in our country’s history. The phony narraVve that Trump was in cahoots with
     Vladimir PuVn, Mueller’s charges that Roger Stone knew about the Wikileaks emails before
     release—all is debunked here. With a new introducVon that responds to the Mueller invesVgaVon,
     The	Myth	of	Russian	Collusion is the true story of the Trump campaign that the establishment
     doesn’t want you to believe.

     "Roger's	a	good	guy.	He	is	a	patriot	and	believes	in	a	strong	naGon,	and	a	lot	of	the	things	that	I
     believe	in."—President	Donald	J.	Trump

                                                                                                       Page 1 of 2
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Roger Stone is a seasoned poliVcal operaVve and pundit. A veteran of eight naVonal presidenVal
campaigns, he served as a senior campaign aide to three Republican presidents before leaving the
GOP for the Libertarian Party. He is author of the New	York	Times bestseller The	Man	Who	Killed
Kennedy:	The	Case	Against	LBJ, as well as Stone’s	Rules, The	Clintons’	War	on	Women, and Nixon’s
Secrets. He splits his Vme between New York City and Miami Beach, Florida.




_____________________________

Michael Campbell

Skyhorse Publishing, Inc.

307 W 36th Street, 11th Floor | New York, NY 10018

212-643-6816 x254

email: mcampbell@skyhorsepublishing.com

www.skyhorsepublishing.com




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      Document 17: Emails re: Cover Approval Discussion
           Case 1:19-cr-00018-ABJ Document 61-2 Filed 03/11/19 Page 60 of 94
                                                 Sunday, March 10, 2019 at 2:03:23 PM Eastern Daylight Time

Subject: Fwd: The Myth of Russian Collusion Comps - Round 1
Date: Friday, March 8, 2019 at 9:41:02 AM Eastern Standard Time
From: Roger Stone
To:      Grant Smith

#10

---------- Forwarded message ---------
From: Roger Stone <players02@gmail.com>
Date: Thu, Mar 7, 2019 at 2:07 PM
Subject: Re: The Myth of Russian Collusion Comps - Round 1
To: Tony Lyons <TLyons@skyhorsepublishing.com>


#10

On Wed, Jan 16, 2019 at 4:53 AM Tony Lyons <TLyons@skyhorsepublishing.com> wrote:
 Okay let’s move ahead with that one

  Tony Lyons, President and Publisher
  Skyhorse Publishing, Inc.
  www.skyhorsepublishing.com


  From: Roger Stone <players02@gmail.com>
  Sent: Wednesday, January 16, 2019 3:22 AM
  To: Tony Lyons; Brian Peterson
  Subject: Fwd: The Myth of Russian Collusion Comps - Round 1

  First – Brian Peterson is a genius and you should give him a huge raise.

  Secondly I like the black-and-white version on the lower right. It’s really cleans for bold

  Roger Stone


  Begin forwarded message:


        From: Tony <tlyons4808@aol.com>
        Date: January 15, 2019 at 6:15:03 PM EST
        To: players02@gmail.com
        Subject: Fwd: The Myth of Russian Collusion Comps - Round 1


        Roger, I like the bo_om two. Which do you prefer? Tony

        Sent from my iPhone

                                                                                                     Page 1 of 2
  Case 1:19-cr-00018-ABJ Document 61-2 Filed 03/11/19 Page 61 of 94


Begin forwarded message:


     From: Brian Peterson <bpeterson@skyhorsepublishing.com>
     Date: January 15, 2019 at 6:10:50 PM EST
     To: Tony Lyons <TLyons@skyhorsepublishing.com>, Michael Campbell
     <Mcampbell@skyhorsepublishing.com>
     Subject: The Myth of Russian Collusion Comps - Round 1


     Hi Tony and Mike,

     I'm a_aching a sheet with ﬁve comps for review. Tony, I'll be remote
     tomorrow (PT at noon) so I lef a printout in your inbox.

     Let me know if any of these direchons work for you guys.

     Thanks,
     Brian

     Brian Peterson
     Creative Director
     Skyhorse Publishing, Inc.
     Allworth Press Arcade Publishing Gary Null Publishing
     Helios Press Night Shade Books Not For Tourists
     Sky Pony Press Sports Publishing Talos Press
     307 W 36th Street 11th Floor New York NY 10018
     Ph:(212) 643 6816 x243 Fax: (212) 643 6819
     www skyhorsepublishing com
     @skyhorsepub


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     Nothing in this email should be construed as legal advice or as creating an attorney client relationship between
     the sender and recipient(s) Should you need legal advice or representation please contact a licensed
     attorney




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      Document 18: Emails re: Additional Cover Discussion
              Case 1:19-cr-00018-ABJ Document 61-2 Filed 03/11/19 Page 63 of 94
                                                 Monday, March 11, 2019 at 2:19:40 PM Eastern Daylight Time

Subject:    Fwd: Barnes & Noble
Date:       Monday, March 11, 2019 at 2:17:30 PM Eastern Daylight Time
From:       Roger Stone
To:         Grant Smith
AEachments: image001.png




---------- Forwarded message ---------
From: Tony Lyons <TLyons@skyhorsepublishing.com>
Date: Wed, Jan 16, 2019 at 11:51 AM
Subject: RE: Barnes & Noble
To: Roger Stone <players02@gmail.com>



Barnes & Noble is saying that all the big books are all type these days and they want your name bigger.



From: Roger Stone <players02@gmail.com>
Sent: Wednesday, January 16, 2019 11:50 AM
To: Tony Lyons <TLyons@skyhorsepublishing.com>
Subject: Re: Barnes & Noble



No- weakest of the lot---let's sXck to the Black and White--photos maYer



R.



On Wed, Jan 16, 2019 at 11:36 AM Tony Lyons <TLyons@skyhorsepublishing.com> wrote:

     Roger,



     Barnes & Noble likes this one beYer. You okay with it?




                                                                                                     Page 1 of 3
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                                                                    Page 3 of 3
Case 1:19-cr-00018-ABJ Document 61-2 Filed 03/11/19 Page 66 of 94




    Document 19: Emails re: More Cover Discussions
            Case 1:19-cr-00018-ABJ Document 61-2 Filed 03/11/19 Page 67 of 94
                                               Monday, March 11, 2019 at 2:24:37 PM Eastern Daylight Time

Subject:    Fwd: Barnes & Noble
Date:       Monday, March 11, 2019 at 2:19:22 PM Eastern Daylight Time
From:       Roger Stone
To:         Grant Smith
AFachments: image001.png




---------- Forwarded message ---------
From: Tony Lyons <TLyons@skyhorsepublishing.com>
Date: Wed, Jan 16, 2019 at 1:54 PM
Subject: RE: Barnes & Noble
To: Roger Stone <players02@gmail.com>



I think the red with all text works for this one and it makes B&N take a few more. Can you hold your
nose and live with that?



From: Roger Stone <players02@gmail.com>
Sent: Wednesday, January 16, 2019 12:05 PM
To: Tony Lyons <TLyons@skyhorsepublishing.com>
Subject: Re: Barnes & Noble



UGH



Chinese " On picture worth 1000 words"



How many do you plan to print ?--there is GLUT of books like this



R



On Wed, Jan 16, 2019 at 11:51 AM Tony Lyons <TLyons@skyhorsepublishing.com> wrote:

    Barnes & Noble is saying that all the big books are all type these days and they want your name
    bigger.



                                                                                                      Page 1 of 4
           Case 1:19-cr-00018-ABJ Document 61-2 Filed 03/11/19 Page 68 of 94




From: Roger Stone <players02@gmail.com>
Sent: Wednesday, January 16, 2019 11:50 AM
To: Tony Lyons <TLyons@skyhorsepublishing.com>
Subject: Re: Barnes & Noble



No- weakest of the lot---let's s`ck to the Black and White--photos maaer



R.



On Wed, Jan 16, 2019 at 11:36 AM Tony Lyons <TLyons@skyhorsepublishing.com> wrote:

     Roger,



     Barnes & Noble likes this one beaer. You okay with it?




                                                                                     Page 2 of 4
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                                                                    Page 4 of 4
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       Document 20: Emails re: Final Cover Discussion
              Case 1:19-cr-00018-ABJ Document 61-2 Filed 03/11/19 Page 72 of 94
                                                  Monday, March 11, 2019 at 2:45:51 PM Eastern Daylight Time

Subject:    Re: Barnes & Noble
Date:       Monday, March 11, 2019 at 2:40:31 PM Eastern Daylight Time
From:       Roger Stone
To:         Grant Smith
AEachments: image001.png




On Wed, Jan 16, 2019 at 2:49 PM Roger Stone <players02@gmail.com> wrote:
 Against my bePer Judgment.

  it looks like every other book on the subject

  R

  On Wed, Jan 16, 2019 at 1:54 PM Tony Lyons <TLyons@skyhorsepublishing.com> wrote:

      I think the red with all text works for this one and it makes B&N take a few more. Can you hold
      your nose and live with that?



      From: Roger Stone <players02@gmail.com>
      Sent: Wednesday, January 16, 2019 12:05 PM
      To: Tony Lyons <TLyons@skyhorsepublishing.com>
      Subject: Re: Barnes & Noble



      UGH



      Chinese " On picture worth 1000 words"



      How many do you plan to print ?--there is GLUT of books like this



      R



      On Wed, Jan 16, 2019 at 11:51 AM Tony Lyons <TLyons@skyhorsepublishing.com> wrote:

          Barnes & Noble is saying that all the big books are all type these days and they want your name
          bigger.

                                                                                                        Page 1 of 4
      Case 1:19-cr-00018-ABJ Document 61-2 Filed 03/11/19 Page 73 of 94




From: Roger Stone <players02@gmail.com>
Sent: Wednesday, January 16, 2019 11:50 AM
To: Tony Lyons <TLyons@skyhorsepublishing.com>
Subject: Re: Barnes & Noble



No- weakest of the lot---let's sack to the Black and White--photos maPer



R.



On Wed, Jan 16, 2019 at 11:36 AM Tony Lyons <TLyons@skyhorsepublishing.com> wrote:

     Roger,



     Barnes & Noble likes this one bePer. You okay with it?




                                                                                     Page 2 of 4
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             Document 21: Image of Cover
                      Choices
Case 1:19-cr-00018-ABJ Document 61-2 Filed 03/11/19 Page 77 of 94
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Document 22: Emails re: Additional Cover Approval Discussions
            Case 1:19-cr-00018-ABJ Document 61-2 Filed 03/11/19 Page 79 of 94
                                                       Sunday, March 10, 2019 at 2:06:31 PM Eastern Daylight Time

Subject: Fwd: Copy for approval
Date: Friday, March 8, 2019 at 9:42:19 AM Eastern Standard Time
From: Roger Stone
To:      Grant Smith

#11

---------- Forwarded message ---------
From: Roger Stone <players02@gmail.com>
Date: Thu, Mar 7, 2019 at 2:08 PM
Subject: Re: Copy for approval
To: Michael Campbell <Mcampbell@skyhorsepublishing.com>


#11

On Wed, Jan 16, 2019 at 2:41 PM Michael Campbell <Mcampbell@skyhorsepublishing.com> wrote:

  Roger,



  Please take a look at the copy below and let me know if it’s approved, and which of your two bios
  you want to use (both below from previous two books).



  Also leZng you know the insert won’t look great in the paperback and have decided to omit it.



  Thanks,

  Mike

  _____________________________

  Michael Campbell
  Skyhorse Publishing, Inc.

  307 W 36th Street, 11th Floor | New York, NY 10018

  212-643-6816 x254

  email: mcampbell@skyhorsepublishing.com

  www.skyhorsepublishing.com




                                                                                                           Page 1 of 3
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From: Michael Campbell
Sent: Tuesday, January 15, 2019 4:50 PM
To: Roger Stone <players02@gmail.com>
Cc: Tony Lyons <TLyons@skyhorsepublishing.com>
Subject: Copy for approval



Roger,



Please take a look at the copy below and approve or provide edits. I used the approved copy from
last princng to put this together, which will be catalog copy. Your bio will be the bio on the back
cover.



For the first time in paperback, New York Times best-selling author Roger Stone’s insider tell-
all about the presidential campaign that shocked the world. This consummate political
strategist continues to be front page news and has updated the book to respond to Robert
Mueller’s charges.



Two years ago, Roger Stone, a New	York	Times bestselling author, longcme policcal adviser and
friend to Donald Trump, and consummate Republican strategist, gave us Making	of	the	President
2016—the ﬁrst in-depth examinacon of how Trump’s campaign delivered the biggest presidencal
eleccon upset in history. But since then, the Deep State policcal establishment has worked crelessly
to undo those results. The	Myth	of	Russian	Collusion	adds to and updates Stone’s inical work to set
the record straight.

Trump’s eleccon win was a resounding repudiacon of the failed leadership of both parces. American
people wanted something new, and President Trump has delivered: his tax cuts and regulatory
rollbacks have given us the strongest economy in American history, he is relentless in his eﬀorts to
protect American ciczens, and he refuses to do business as usual.

But America’s ruling elite and liberal media, feeling threatened, have conspired to create the biggest
witch hunt in our country’s history. The phony narracve that Trump was in cahoots with Vladimir
Pucn, Mueller’s charges that Roger Stone knew about the Wikileaks emails before release—all is
debunked here. With a new introduccon that responds to the Mueller invescgacon, The	Myth	of
Russian	Collusion is the true story of the Trump campaign that the establishment doesn’t want you
to believe.

"Roger's	a	good	guy.	He	is	a	patriot	and	believes	in	a	strong	naGon,	and	a	lot	of	the	things	that	I
believe	in."—President	Donald	J.	Trump



Roger Stone is a seasoned policcal operacve and pundit. A veteran of eight naconal presidencal

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campaigns, he served as a senior campaign aide to three Republican presidents before leaving the
GOP for the Libertarian Party. He is author of the New	York	Times bestseller The	Man	Who	Killed
Kennedy:	The	Case	Against	LBJ, as well as Stone’s	Rules, The	Clintons’	War	on	Women, and Nixon’s
Secrets. He splits his cme between New York City and Miami Beach, Florida.

Roger Stone is the New York Times bestselling author of The Man Who Killed Kennedy, along
with Making of the President 2016, among others. He is a legendary American political consultant
and strategist who played a role in the election of Republican presidents Richard Nixon, Ronald
Reagan, George W. Bush, and Donald Trump. He was the subject of the smash hit, award-winning
Netflix documentary Get Me Roger Stone.




_____________________________

Michael Campbell

Skyhorse Publishing, Inc.

307 W 36th Street, 11th Floor | New York, NY 10018

212-643-6816 x254

email: mcampbell@skyhorsepublishing.com

www.skyhorsepublishing.com




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    Document 23: Emails re: Shipping Copies to Stone Home
            Case 1:19-cr-00018-ABJ Document 61-2 Filed 03/11/19 Page 83 of 94
                                                       Sunday, March 10, 2019 at 2:07:38 PM Eastern Daylight Time

Subject: Fwd: Copies of the paperback
Date: Friday, March 8, 2019 at 9:47:10 AM Eastern Standard Time
From: Roger Stone
To:      Grant Smith

# 14

---------- Forwarded message ---------
From: Roger Stone <players02@gmail.com>
Date: Thu, Mar 7, 2019 at 2:10 PM
Subject: Re: Copies of the paperback
To: Michael Campbell <Mcampbell@skyhorsepublishing.com>


#14

On Fri, Feb 15, 2019 at 1:45 PM Michael Campbell <Mcampbell@skyhorsepublishing.com> wrote:

  I had a couple cartons sent.



  We sent to 300-400 media outlets—naXonal list, conservaXve list, and included the progressive
  media list for this one. Plus followed up with and hits from Making of the President and Stone’s
  Rules.



  Received interested from NYT, WSJ, Josh Lesh at CNN, Howard Goldenthal at CBC, John Weber at
  Premiere, Melissa Parker at Smashing Interviews Mag, Alison Ehrlich at ABC, Gideon Resnick at Daily
  Best. We sent them all material and forward the requests to Lainie/KrisXn at their request. We don’t
  know if they executed, doesn’t look like it. Please have them keep us in the loop when they book
  anything llike TV for you so we can follow up with producers to have cover shown.



  _____________________________

  Michael Campbell

  Editor

  Skyhorse Publishing, Inc.

  307 W 36th Street, 11th Floor | New York, NY 10018

  212-643-6816 x254

  email: mcampbell@skyhorsepublishing.com

  www.skyhorsepublishing.com

                                                                                                           Page 1 of 2
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From: Roger Stone <players02@gmail.com>
Sent: Friday, February 15, 2019 12:48 AM
To: Michael Campbell <Mcampbell@skyhorsepublishing.com>
Subject: Re: Copies of the paperback



Send to                  , Fort Lauderdale , Fla 33301 / what is the plan for launch ?

Roger Stone




On Jan 24, 2019, at 2:06 PM, Michael Campbell <Mcampbell@skyhorsepublishing.com> wrote:

     Roger,



     Can send you some copies of the paperback, which is prinXng soon—let me know what
     address to send to.



     Mike



     _____________________________

     Michael Campbell
     Skyhorse Publishing, Inc.

     307 W 36th Street, 11th Floor | New York, NY 10018

     212-643-6816 x254

     email: mcampbell@skyhorsepublishing.com

     www.skyhorsepublishing.com




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    Document 24: Emails re: Distribution of Review Copies
          Case 1:19-cr-00018-ABJ Document 61-2 Filed 03/11/19 Page 86 of 94
                                               Sunday, March 10, 2019 at 2:08:02 PM Eastern Daylight Time

Subject: Fwd: Copies of the paperback
Date: Friday, March 8, 2019 at 9:47:39 AM Eastern Standard Time
From: Roger Stone
To:      Grant Smith

#15

---------- Forwarded message ---------
From: Roger Stone <players02@gmail.com>
Date: Thu, Mar 7, 2019 at 2:11 PM
Subject: Re: Copies of the paperback
To: Michael Campbell <Mcampbell@skyhorsepublishing.com>


#15



On Fri, Feb 15, 2019 at 1:52 PM Roger Stone <players02@gmail.com> wrote:
 Recognize that the judge may issue a gag order any day now and while we will appeal it that could
 take a while. I also have to be wary of media outlets I want to interview me but don’t really want to
 talk about the book. These are weird Ymes

  Roger Stone


  On Feb 15, 2019, at 1:45 PM, Michael Campbell <Mcampbell@skyhorsepublishing.com> wrote:


        I had a couple cartons sent.



        We sent to 300-400 media outlets—naYonal list, conservaYve list, and included the
        progressive media list for this one. Plus followed up with and hits from Making of the
        President and Stone’s Rules.



        Received interested from NYT, WSJ, Josh Lesh at CNN, Howard Goldenthal at CBC, John
        Weber at Premiere, Melissa Parker at Smashing Interviews Mag, Alison Ehrlich at ABC,
        Gideon Resnick at Daily Best. We sent them all material and forward the requests to
        Lainie/KrisYn at their request. We don’t know if they executed, doesn’t look like it.
        Please have them keep us in the loop when they book anything llike TV for you so we
        can follow up with producers to have cover shown.




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_____________________________

Michael Campbell

Editor
Skyhorse Publishing, Inc.

307 W 36th Street, 11th Floor | New York, NY 10018

212-643-6816 x254

email: mcampbell@skyhorsepublishing.com

www.skyhorsepublishing.com




From: Roger Stone <players02@gmail.com>
Sent: Friday, February 15, 2019 12:48 AM
To: Michael Campbell <Mcampbell@skyhorsepublishing.com>
Subject: Re: Copies of the paperback



Send to                      Fort Lauderdale , Fla 33301 / what is the plan for launch ?

Roger Stone




On Jan 24, 2019, at 2:06 PM, Michael Campbell <Mcampbell@skyhorsepublishing.com>
wrote:

         Roger,



         Can send you some copies of the paperback, which is prinYng soon—let me
         know what address to send to.



         Mike



         _____________________________

         Michael Campbell


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  Skyhorse Publishing, Inc.

  307 W 36th Street, 11th Floor | New York, NY 10018

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  email: mcampbell@skyhorsepublishing.com

  www.skyhorsepublishing.com




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 Document 25 Emails re: Discussion of Covers and Books for
                         Hannity
           Case 1:19-cr-00018-ABJ Document 61-2 Filed 03/11/19 Page 90 of 94
                                                 Sunday, March 10, 2019 at 1:42:16 PM Eastern Daylight Time

Subject: Re: Sean Hannity
Date: Monday, January 28, 2019 at 11:25:43 AM Eastern Standard Time
From: KrisAn Davis
To:      Tony
CC:      Nick Magliato, Grant Smith, Hector Carosso

Tony or Nick- Can one of you guys please give me Hannity's producers info?

From: Tony <tlyons4808@aol.com>
Sent: Monday, January 28, 2019 8:53 AM
To: KrisAn Davis
Cc: Nick Magliato; Grant Smith; Hector Carosso
Subject: Re: Sean Hannity

Sounds great

Sent from my iPhone

On Jan 28, 2019, at 8:49 AM, KrisAn Davis <krisAndavis@outlook.com> wrote:


      If you have a graphic for the new book please send it to me. I can forward to some of the
      podcast and radio guy so that they can promote also.

      Get Outlook for Android


      From: Tony <tlyons4808@aol.com>
      Sent: Monday, January 28, 2019 8:43:13 AM
      To: KrisAn Davis
      Cc: Nick Magliato; Grant Smith; Hector Carosso
      Subject: Re: Sean Hannity

      That would be amazing!

      Sent from my iPhone

      On Jan 28, 2019, at 8:42 AM, KrisAn Davis <krisAndavis@outlook.com> wrote:


            Yes, looking forward to making another New York Times Bestseller

            Get Outlook for Android


            From: Grant Smith <gsmith@strategysmith.com>
            Sent: Monday, January 28, 2019 8:41:40 AM
            To: Nick Magliato; Tony; KrisAn Davis
            Cc: Hector Carosso

                                                                                                     Page 1 of 5
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 Subject: Re: Sean Hannity

 Can someone have the Hannity folks reach out this morning to conﬁrm the
 details?

 Grant
 ____________________
 Grant J. Smith, Esq.
 StrategySmith, PA
 401 East Las Olas Boulevard
 Suite 130-120
 Fort Lauderdale, FL 33301
 954.328.9064 - Direct

 From: Nick Magliato <nmagliato@skyhorsepublishing.com>
 Date: Monday, January 28, 2019 at 8:33 AM
 To: Tony <tlyons4808@aol.com>, KrisAn Davis <krisAndavis@outlook.com>
 Cc: Grant Smith <gsmith@strategysmith.com>, Hector Carosso
 <hcarosso@skyhorsepublishing.com>
 Subject: Re: Sean Hannity

 Thanks, KrisAn.

 I’ll send over these covers now. And to echo Tony, looking forward to working with
 you again.

 Best,
 Nick

 Get Outlook for iOS


 From: Tony <tlyons4808@aol.com>
 Sent: Monday, January 28, 2019 8:30 AM
 To: KrisAn Davis
 Cc: Grant Smith; Hector Carosso; Nick Magliato
 Subject: Re: Sean Hannity

 Thanks so much, KrisAn. We will get covers to the Myth of Russian Collusion and
 Stone’s Rules ASAP.

 Look forward to working with you again.

 Sent from my iPhone

 On Jan 28, 2019, at 8:23 AM, KrisAn Davis <krisAndavis@outlook.com> wrote:

         Hi Tony,



                                                                                      Page 2 of 5
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      He is doing Hannity tonight and Laura Ingraham tomorrow. He
      booked both of those himself so I don't actually have their
      addresses but I assume you have them in your contact
      database?

      I am holding on confirming Wednesday and Thursday events
      until he gives me the go-ahead. As soon as I know more I'll let
      you know.

      Kristin

      Get Outlook for Android


      From: Tony <tlyons4808@aol.com>
      Sent: Sunday, January 27, 2019 10:48:15 PM
      To: Grant Smith
      Cc: KrisAn Davis; hcarosso@skyhorsepublishing.com;
      nmagliato@skyhorsepublishing.com
      Subject: Re: Sean Hannity

      KrisAn, can you give us a list of places so we can get them covers and
      ﬁnished books? Best, Tony

      Sent from my iPhone

      On Jan 27, 2019, at 10:23 PM, Grant Smith
      <gsmith@strategysmith.com> wrote:

            I know Hannity tomorrow from DC. I need to conﬁrm
            with them. KrisAn is running schedule. I copied her
            here.

            Grant
            ____________________
            Grant J. Smith, Esq.
            StrategySmith, PA
            401 East Las Olas Boulevard
            Suite 130-120
            Fort Lauderdale, FL 33301
            954.328.9064 - Direct

            From: Tony <tlyons4808@aol.com>
            Date: Sunday, January 27, 2019 at 10:16 PM
            To: Grant Smith <gsmith@strategysmith.com>
            Cc: "hcarosso@skyhorsepublishing.com"
            <hcarosso@skyhorsepublishing.com>,
            "nmagliato@skyhorsepublishing.com"
            <nmagliato@skyhorsepublishing.com>
            Subject: Re: Sean Hannity


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           Grant,

           Can you send us a list of his bookings so we can get the
           various places the cover of the new book. They like to
           run the cover on the bohom of the screen, but we need
           to know which shows he’s going to do.

           All the best,

           Tony


           Sent from my iPhone

           On Jan 27, 2019, at 9:55 PM, Grant Smith
           <gsmith@strategysmith.com> wrote:

                    Roger is fully booked. Thanks for the
                    help.

                    Grant
                    ____________________
                    Grant J. Smith, Esq.
                    StrategySmith, PA
                    401 East Las Olas Boulevard
                    Suite 130-120
                    Fort Lauderdale, FL 33301
                    954.328.9064 - Direct

                    From: Tony <tlyons4808@aol.com>
                    Date: Saturday, January 26, 2019 at
                    12:11 PM
                    To: Grant Smith
                    <gsmith@strategysmith.com>
                    Cc: "hcarosso@skyhorsepublishing.com"
                    <hcarosso@skyhorsepublishing.com>
                    Subject: Re: Sean Hannity

                    Grant,




                                                                      Page 4 of 5
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                Would Roger do CNNs New Day on Monday
                morning? They would send a crew to him. I
                guess he could put them on the spot about
                how they really got to his house with the
                FBI!

                Let me know. They are ready to go and
                would discuss the book.

                Tony

                Sent from my iPhone

                On Jan 25, 2019, at 6:53 PM, Grant Smith
                <gsmith@strategysmith.com> wrote:

                       I need to talk to them
                       before.

                       Grant
                       ____________________
                       Grant J. Smith, Esq.
                       StrategySmith, PA
                       401 East Las Olas Boulevard
                       Suite 130-120
                       Fort Lauderdale, FL 33301
                       954.328.9064 - Direct

                       From: Tony Lyons
                       <TLyons@skyhorsepublishin
                       g.com>
                       Date: Friday, January 25,
                       2019 at 2:10 PM
                       To: Grant Smith
                       <gsmith@strategysmith.com
                       >
                       Subject: Sean Hannity

                       Grant,

                       Hannity is interested in having
                       Roger on Monday night.

                       Will he do it?

                       All the best,

                       Tony



                                                                    Page 5 of 5
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         COMPOSITE
          EXHIBIT C
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            COMPOSITE
             EXHIBIT D
Case 1:19-cr-00018-ABJ Document 61-4 Filed 03/11/19 Page 2 of 16




      Document 1: Emails re: New Introduction Sent to Legal
                             Team
            Case 1:19-cr-00018-ABJ Document 61-4 Filed 03/11/19 Page 3 of 16
                                                           Sunday, March 10, 2019 at 1:43:31 PM Eastern Daylight Time

Subject: Re: New BOOK Introduc2on
Date: Thursday, February 21, 2019 at 6:33:40 PM Eastern Standard Time
From: Bruce Rogow
To:      Grant Smith
CC:      Rob Buschel, Tara Campion

The “ AOer The recusal of Sessions etc paragraphs are problema2c.i have not thought/read carefully,
but if I am right, maybe the publisher can black out the pages and say pursuant to the order . . . .

On Feb 21, 2019, at 5:58 PM, Grant Smith <gsmith@strategysmith.com> wrote:


      Will be published march 1. See date below. Need to see if this breaks the order. Was
      draOed BEFORE indictment.

      Grant
      ____________________
      Grant J. Smith, Esq.
      StrategySmith, PA
      401 East Las Olas Boulevard
      Suite 130-120
      Fort Lauderdale, FL 33301
      954.328.9064 - Direct

      From: Michael Campbell <Mcampbell@skyhorsepublishing.com>
      Date: Monday, January 14, 2019 at 5:42 PM
      To: Roger Stone <players02@gmail.com>
      Cc: Mark Gompertz <mgompertz@skyhorsepublishing.com>, Grant Smith
      <gsmith@strategysmith.com>, Tony Lyons <TLyons@skyhorsepublishing.com>
      Subject: RE: New Introduc2on

      Roger,

      Edited intro abached here. Just copyedits and reordering a couple paragraphs in the Mueller
      sec2on to beber show the progression.

      Thanks,
      Mike
      _____________________________
      Michael Campbell
      Skyhorse Publishing, Inc.
      307 W 36th Street, 11th Floor | New York, NY 10018
      212-643-6816 x254
      email: mcampbell@skyhorsepublishing.com
      www.skyhorsepublishing.com

      From: Roger Stone <players02@gmail.com>
      Sent: Monday, January 14, 2019 11:49 AM
      To: Tony Lyons <TLyons@skyhorsepublishing.com>; Michael Campbell

                                                                                                               Page 1 of 2
     Case 1:19-cr-00018-ABJ Document 61-4 Filed 03/11/19 Page 4 of 16

<Mcampbell@skyhorsepublishing.com>; Grant Smith <gsmith@strategysmith.com>
Subject: New Introduc2on

for the Making of the President 2016 in paperback

3386 words

R

<new book introduc2on_MC.docx>




                                                                             Page 2 of 2
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    Document 2: Emails re: First Communication After Feb.
                 21st Order to the Publisher
           Case 1:19-cr-00018-ABJ Document 61-4 Filed 03/11/19 Page 6 of 16
                                              Sunday, March 10, 2019 at 1:44:28 PM Eastern Daylight Time

Subject: RE: Urgent—-
Date: Tuesday, February 26, 2019 at 1:54:39 PM Eastern Standard Time
From: Tony Lyons
To:      Grant Smith
CC:      Dean NoIe

I believe it was about 14,000 copies

-----Original Message-----
From: Grant Smith <gsmith@strategysmith.com>
Sent: Tuesday, February 26, 2019 1:16 PM
To: Tony Lyons <TLyons@skyhorsepublishing.com>
Cc: Dean NoIe <dnoIe@skyhorsepublishing.com>
Subject: Re: Urgent—-

My quesYon has not been answered. How many copies????


Grant
954-328-9064


Sent from my iPhone

On Feb 22, 2019, at 10:19 AM, Tony Lyons <TLyons@skyhorsepublishing.com> wrote:

They were all shipped out a few weeks ago to customers across the country.

-----Original Message-----
From: Grant Smith <gsmith@strategysmith.com>
Sent: Friday, February 22, 2019 10:16 AM
To: Tony Lyons <TLyons@skyhorsepublishing.com>; Dean NoIe <dnoIe@skyhorsepublishing.com>
Subject: Urgent—-

Gentlemen:

I need a detailed explanaYon of where the new books stand in the process of being put into the public.
I need to know how many were printed, and where they physically reside at the moment. In light of
the judges order yesterday we must know this informaYon immediately.


Grant
954-328-9064


Sent from my iPhone


                                                                                                  Page 1 of 2
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     Document 3: Emails re: Follow-Up Communication with
                           Publisher
             Case 1:19-cr-00018-ABJ Document 61-4 Filed 03/11/19 Page 9 of 16
                                                  Sunday, March 10, 2019 at 1:45:29 PM Eastern Daylight Time

Subject: Re: Urgently Needed Informa3on
Date: Tuesday, February 26, 2019 at 5:50:34 PM Eastern Standard Time
From: Grant Smith
To:      Tony Lyons, Roger Stone

Hopefully.

Grant
____________________
Grant J. Smith, Esq.
StrategySmith, PA
401 East Las Olas Boulevard
Suite 130-120
Fort Lauderdale, FL 33301
954.328.9064 - Direct

From: Tony Lyons <TLyons@skyhorsepublishing.com>
Date: Tuesday, February 26, 2019 at 5:32 PM
To: Grant Smith <gsmith@strategysmith.com>, Roger Stone <players02@gmail.com>
Subject: RE: Urgently Needed Informa3on

Yes, there is an ebook. Both were live long before the gag order, so we should be good, right?

From: Grant Smith <gsmith@strategysmith.com>
Sent: Tuesday, February 26, 2019 5:31 PM
To: Tony Lyons <TLyons@skyhorsepublishing.com>; Roger Stone <players02@gmail.com>
Subject: Re: Urgently Needed Informa3on

I was under the impression that publica3on date was March 1. It now it appears it was February 19, is
that correct?

Are you selling e-book versions?

Grant
____________________
Grant J. Smith, Esq.
StrategySmith, PA
401 East Las Olas Boulevard
Suite 130-120
Fort Lauderdale, FL 33301
954.328.9064 - Direct

From: Tony Lyons <TLyons@skyhorsepublishing.com>
Date: Tuesday, February 26, 2019 at 5:26 PM
To: Grant Smith <gsmith@strategysmith.com>, Roger Stone <players02@gmail.com>
Subject: RE: Urgently Needed Informa3on


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This all happened prior to the court order, so I don’t see how it’s relevant. I just don’t have the staﬀ to do it
this week.

We printed about 13,000-14,000 copies. We shipped most of them and they are all around the country in
bookstores. They are not selling par3cularly well so far, but hopefully that will change.

That should be suﬃcient, right?

From: Grant Smith <gsmith@strategysmith.com>
Sent: Tuesday, February 26, 2019 5:03 PM
To: Tony Lyons <TLyons@skyhorsepublishing.com>; Roger Stone <players02@gmail.com>
Subject: Re: Urgently Needed Informa3on

The mere publica3on of the new por3ons of the book could land Roger in jail for contempt of the
judge’s order. We are trying to establish data points and provide legal advice. I can not give you more
informa3on without viola3ng the aeorney client rela3onship at the moment. I need this immediately.
This is not a some made up emergency.

Grant
____________________
Grant J. Smith, Esq.
StrategySmith, PA
401 East Las Olas Boulevard
Suite 130-120
Fort Lauderdale, FL 33301
954.328.9064 - Direct

From: Tony Lyons <TLyons@skyhorsepublishing.com>
Date: Tuesday, February 26, 2019 at 4:59 PM
To: Grant Smith <gsmith@strategysmith.com>, Mark Gompertz
<mgompertz@skyhorsepublishing.com>, Michael Campbell <Mcampbell@skyhorsepublishing.com>,
Brian Peterson <bpeterson@skyhorsepublishing.com>, Dean Noee
<dnoee@skyhorsepublishing.com>, Roger Stone <players02@gmail.com>
Subject: RE: Urgently Needed Informa3on

Grant,

What is this for? Please give me details.

We no longer have a joint-venture, so all of this informa3on is proprietary and also takes a lot of 3me to
research. We are short-staﬀed this week, which is why you haven’t received a response.

Look forward to hearing back, but please don’t copy anyone else. Just deal directly with me.

Thanks,

Tony

From: Grant Smith <gsmith@strategysmith.com>

                                                                                                               Page 2 of 4
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Sent: Tuesday, February 26, 2019 4:50 PM
To: Mark Gompertz <mgompertz@skyhorsepublishing.com>; Michael Campbell
<Mcampbell@skyhorsepublishing.com>; Brian Peterson <bpeterson@skyhorsepublishing.com>; Tony Lyons
<TLyons@skyhorsepublishing.com>; Dean Noee <dnoee@skyhorsepublishing.com>; Roger Stone
<players02@gmail.com>
Subject: FW: Urgently Needed Informa3on
Importance: High

All-

I do not take the designa3on of an email “urgent” lightly. If I request it in that fashion, there must be a
good reason.

Will somebody please take the 3me to answer the ques3ons below on an urgent basis?

Grant
____________________
Grant J. Smith, Esq.
StrategySmith, PA
401 East Las Olas Boulevard
Suite 130-120
Fort Lauderdale, FL 33301
954.328.9064 - Direct

From: Grant Smith <gsmith@strategysmith.com>
Date: Tuesday, February 26, 2019 at 1:32 PM
To: "mgompertz@skyhorsepublishing.com" <mgompertz@skyhorsepublishing.com>, Michael
Campbell <Mcampbell@skyhorsepublishing.com>, Brian Peterson
<bpeterson@skyhorsepublishing.com>, Tony Lyons <TLyons@skyhorsepublishing.com>, Dean Noee
<dnoee@skyhorsepublishing.com>
Cc: Roger Stone <players02@gmail.com>
Subject: Urgently Needed Informa3on

I need immediately:

A PDF of the FINAL version of the new preface.

How many copies were printed?
When were they printed?
What is the oﬃcial publish date?
What is the date they were sent to press for reviews? How many?
When is the ﬁrst date for sale?
How much did the prin3ng cost?
Where are the actual books now?


Grant
____________________

                                                                                                       Page 3 of 4
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Grant J. Smith, Esq.
StrategySmith, PA
401 East Las Olas Boulevard
Suite 130-120
Fort Lauderdale, FL 33301
954.328.9064 - Direct




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    Document 4: Emails re: Additional Follow-Up with Publisher
           Case 1:19-cr-00018-ABJ Document 61-4 Filed 03/11/19 Page 14 of 16
                                                   Sunday, March 10, 2019 at 1:47:39 PM Eastern Daylight Time

Subject: Re: TIME SENSITIVE Stone - SkyHorse
Date: Thursday, February 28, 2019 at 7:50:06 PM Eastern Standard Time
From: Tara Campion
To:      tony
CC:      Grant Smith, Bruce Rogow

If that’s what you have it will have to. Thanks.

Sent from my iPhone

On Feb 28, 2019, at 7:01 PM, tony <tlyons4808@aol.com> wrote:


      They were sent in late January. Is that enough?


      -----Original Message-----
      From: Tara Campion <tcampion@rogowlaw.com>
      To: Tony <tlyons4808@aol.com>
      Cc: Grant Smith <gsmith@strategysmith.com>; Bruce Rogow <brogow@rogowlaw.com>
      Sent: Thu, Feb 28, 2019 11:24 am
      Subject: RE: TIME SENSITIVE Stone - SkyHorse

      Good morning Tony,
      Any luck with your sales director?

      Tara A. Campion, Esq.
      Attorney
      Bruce S. Rogow, P.A.
      100 N.E 3rd Avenue | Suite 1000 |Fort Lauderdale, FL 33301
      PH: 954.767.8909 | Fax: 954.764.1530
      tcampion@rogowlaw.com


      -----Original Message-----
      From: Tara Campion
      Sent: Wednesday, February 27, 2019 3:46 PM
      To: 'Tony' <tlyons4808@aol.com>
      Cc: Grant Smith <gsmith@strategysmith.com>; Bruce Rogow <brogow@rogowlaw.com>
      Subject: RE: TIME SENSITIVE Stone - SkyHorse

      Great, thanks so much. I appreciate it.

      Tara A. Campion, Esq.
      Attorney
      Bruce S. Rogow, P.A.
      100 N.E 3rd Avenue | Suite 1000 |Fort Lauderdale, FL 33301
      PH: 954.767.8909 | Fax: 954.764.1530
      tcampion@rogowlaw.com



      -----Original Message-----
      From: Tony [mailto:tlyons4808@aol.com]
      Sent: Wednesday, February 27, 2019 3:45 PM
      To: Tara Campion <tcampion@rogowlaw.com>


                                                                                                       Page 1 of 3
     Case 1:19-cr-00018-ABJ Document 61-4 Filed 03/11/19 Page 15 of 16

Cc: Grant Smith <gsmith@strategysmith.com>; Bruce Rogow <brogow@rogowlaw.com>
Subject: Re: TIME SENSITIVE Stone - SkyHorse

I’ll put a call in to our sales director but usually 2-3 weeks before pub date

Sent from my iPhone

> On Feb 27, 2019, at 3:40 PM, Tara Campion <tcampion@rogowlaw.com> wrote:
>
> When were they sent to the retailers?
>
> Tara A. Campion, Esq.
> Attorney
> Bruce S. Rogow, P.A.
> 100 N.E 3rd Avenue | Suite 1000 |Fort Lauderdale, FL 33301
> PH: 954.767.8909 | Fax: 954.764.1530
> tcampion@rogowlaw.com
>
>
>
> -----Original Message-----
> From: Tony [mailto:tlyons4808@aol.com]
> Sent: Wednesday, February 27, 2019 3:34 PM
> To: Tara Campion <tcampion@rogowlaw.com>
> Cc: Grant Smith <gsmith@strategysmith.com>; Bruce Rogow <brogow@rogowlaw.com>
> Subject: Re: TIME SENSITIVE Stone - SkyHorse
>
> See below
>
> Sent from my iPhone
>
>> On Feb 27, 2019, at 3:13 PM, Tara Campion <tcampion@rogowlaw.com> wrote:
>>
>> Good afternoon,
>>
>> We need to know the following:
>>
>> 1. What are the dates of publication for each of the means of release (hard copy, ebook, etc.)?
>
> 2/19
>
>> 2. How many copies were distributed?
>
> About 13,000
>
>> 3. How many retailers, etc., were provided books/ebooks?
>
> Hundreds of stores nationwide.
>>
>> Thank you,
>> Tara
>>
>> Tara A. Campion, Esq.
>> Attorney
>> Bruce S. Rogow, P.A.
>> 100 N.E 3rd Avenue | Suite 1000 |Fort Lauderdale, FL 33301
>> PH: 954.767.8909 | Fax: 954.764.1530
>> tcampion@rogowlaw.com
>>
>>
>> -----Original Message-----


                                                                                                     Page 2 of 3
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>> From: Tony [mailto:tlyons4808@aol.com]
>> Sent: Wednesday, February 27, 2019 2:07 PM
>> To: Grant Smith <gsmith@strategysmith.com>
>> Cc: Bruce Rogow <brogow@rogowlaw.com>; Tara Campion <tcampion@rogowlaw.com>
>> Subject: Re: TIME SENSITIVE Stone - SkyHorse
>>
>> I’m out of the office and can’t talk now but put the questions in an email and I’ll do my best.
>>
>> Sent from my iPhone
>>
>>> On Feb 27, 2019, at 1:48 PM, Grant Smith <gsmith@strategysmith.com> wrote:
>>>
>>> Tony-
>>>
>>> Bruce Rogow, Roger’s lead Attorney in the criminal case needs to communicate with you on an
immediate basis.
>>>
>>> Bruce is copied hereon.
>>>
>>> Please make arrangements to speak about the topics you and I corresponded about yesterday.
>>>
>>>
>>>
>>> Grant
>>> 954-328-9064
>>>
>>>
>>> Sent from my iPhone
>>
>




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